Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 1 of 142 PageID 1




                      IN THE UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

Jane Does 1, and 21 by and through   )
their mother, Mary Doe, and Jane     )
Doe 3, by and through her father,    )
Joseph Doe2,                         )
                                     )
                   Plaintiff,        )
v.                                   )
                                     )
Varsity Brands, LLC, Varsity Spirit, )
LLC, Varsity Brands Holding          )                              COMPLAINT
Company, Inc., U.S. All Star         )                        (DEMAND FOR A JURY TRIAL)
Federation, Inc. d/b/a U.S. All      )
Star Federation, USA Federation      )
for Sport Cheering d/b/a USA         )
Cheer, Charlesbank Capital Partners, )
LP, Bain Capital, LP, Jeff Webb,     )
individually, Champion Elite Legacy )
Ashley Hughes,                       )
and Erick Kristianson,               )
                                     )
                   Defendants.       )
                                     )

                                    STATEMENT OF THE CASE




1 Given the nature of the subject matter as well as the potential for harm that exists against those who come
forward to inform against Defendants, the Plaintiff in this matter will be identified only as Jane Doe in
conjunction with the factual underpinnings on this complaint.
2 These cases were previously filed as separate matters under Civil Action Numbers: 6:22-cv-02146; 6:22-

cv-02147, and 6:22-cv-02149 and consolidated thereafter for all purposes.

                                                     1
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 2 of 142 PageID 2




      Plaintiffs file this complaint by and through undersigned counsel of record

against the above-named Defendants for money damages in connection with

conduct: (1) in violation of the Protecting Young Victims from Sexual Abuse and

Safe Sport Authorization Act of 2017, 18 U.S.C. §2255; (2) constituting a civil

conspiracy in violation of the Racketeer Influenced and Corrupt Organization

(RICO) Act, Title IX of the Organized Crime Control Act of 1970, 18 U.S.C. §1962(c)

and (3) giving rise to common law claims of gross negligence, negligent

supervision, and assault/battery; and (4) constituting violations of contractual

and/or equitable responsibilities owed to Plaintiffs. As a direct and proximate

result of Defendants’ collective and individual conduct, Plaintiffs sustained and

will continue to sustain actual and ongoing injuries and damages, and in support

thereof, they allege facts as follows at all times relevant to this Complaint:

                                   INTRODUCTION


      1.     Champion Elite Legacy (“Defendant Champion Elite”) was a private

All-star cheer and tumbling business in South Daytona, Florida, offering coaching

and training services for athletes of all ages, including the three Plaintiffs.

      2.     Defendant Champion Elite, by and through its owner, Defendant

Ashley Hughes, employed and empowered an All-star coach, Erick Kristianson


                                           2
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 3 of 142 PageID 3




(“Defendant Kristianson”), to train young athletes, providing him with access to

these same athletes, and opportunities to create relationships and connections

with these athletes.

      3.     Defendant Champion Elite was considered a certified member club

working in a consortium with the other Defendants, including – Jeff Webb, Varsity

Brands, LLC, Varsity Spirit, LLC, Varsity Brands Holding Company, (collectively

“the Varsity Defendants”) and the Varsity Defendants’ owners and affiliates,

including Defendant U.S. All Star Federation, Inc. d/b/a U.S. All Star Federation

(“Defendant USASF”), Defendant USA Federation for Sport Cheering d/b/a USA

Cheer (“Defendant USA Cheer”), Defendant Bain Capital, and Defendant

Charlesbank (collectively “the PE Defendants”), which sole specific promises of a

safe sport to expand the Varsity Defendants’ network of minor athletes and prop

up the Varsity Defendants’ billion-dollar business.

      4.     Similarly, Defendant Kristianson was considered a certified coach by

the Varsity Defendants, Defendant USASF, Defendant USA Cheer, and the PE

Defendants, a classification that essentially identified Kristianson as a duly vetted

and safe coach for working with minor children, such as Plaintiffs.




                                         3
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 4 of 142 PageID 4




      5.     Defendant Champion Elite, Defendant Hughes, and Defendant

Kristianson were part of a network of gyms, owners, coaches and vendors

empowered and placed in positions of trust and authority by Defendant Webb and

the other Varsity Defendants, Defendant USASF, Defendant USA Cheer, and the

PE Defendants.

      6.    At the same time, the Varsity Defendants, Defendant USASF,

Defendant USA Cheer, Defendant Webb, Defendant Charlesbank and Defendant

Bain Capital knew or had the opportunity to know that Defendant Champion

Elite, Defendant Hughes, and Defendant Kristianson were either engaged in

significant misconduct with or abuse of minor athletes or were allowing pervasive

abuse and misconduct against minor athletes.

      7.    The scheme to anoint specific gyms and coaches at the expense of

safety best practices occurred as the Varsity Defendants were creating and

expanding a business model reliant upon a pipeline of young athletes, each of

whom was a participant of a member gym, such as Defendant Champion Elite,

and each of whom represented a significant financial contribution to the Varsity

Defendants’ and PE Defendants’ business worth billions of dollars.




                                        4
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 5 of 142 PageID 5




      8.    The Defendants, together and individually have knowingly, or with

a reckless disregard, created, organized, and propagated a system of young athlete

abuse against innocent victims including Plaintiff Jane Doe 1, Plaintiff Jane Doe 2,

and Plaintiff Jane Doe 3.

      9.    This is a complaint for legal and equitable relief for the victims of this

scheme.


                   JURISDICTION, PARTIES, AND VENUE


      10.   This action arises pursuant to, and involves questions requiring the

interpretation of the laws of the United States and thus subject matter jurisdiction

is conferred upon the Court by 28 U.S.C. §1331.

      11.   Supplemental jurisdiction over state law claims is conferred upon the

Court by 28 U.S.C. §1367(a).

      12.   Plaintiff Jane Doe 1 is a citizen residing in Volusia County, Florida.

      13.   Plaintiff Jane Doe 2 is a citizen residing in Volusia County, Florida.

      14.   Plaintiff Jane Doe 3 is a citizen residing Volusia County, Florida.

      15.   Defendant Champion Elite Legacy, LLC (“Defendant Champion

Elite”) was a for-profit Limited Liability Company organized and existing

pursuant to Florida law, with a principal place of business at 2330 S Nova Road


                                         5
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 6 of 142 PageID 6




#15, South Daytona, Florida 32119. Defendant Champion Elite was a premier All-

star cheer program, a USASF member club, and, by and through its employees,

owners, agents, and authorized representatives, all within the course and scope of

their responsibilities, did interact on a daily basis with minor children, both upon

its premises, as well as at various camps, clinics, and competitions throughout the

country.

      16.    Defendant Ashley Hughes (“Defendant Hughes”) owned and

operated Defendant Champion Elite, and was a citizen and resident of Volusia

County, Florida. As the owner and operator of a business providing All-star

training and competition services to minor athletes, which necessarily included

the transport of these minor athletes across state lines, Defendant Hughes had a

responsibility to provide safe premises, personnel, and modes of training to minor

athletes, including, without limitation the three Jane Doe Plaintiffs.

      17.    Defendant Erick Kristianson was a citizen and resident of South

Daytona, Florida and was employed by Defendant Champion Elite. During the

timeframe of this complaint, Defendant Kristianson was a credentialed member of

USASF and USA Cheer, and, as such, he was expressly permitted to interact with

minor children.



                                          6
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 7 of 142 PageID 7




      18.   Defendant Jeff Webb (“Defendant Webb”) was a citizen of Memphis,

Tennessee, and created, owned, operated, and/or controlled Defendant Varsity

Brands, LLC, Defendant Varsity Spirit, LLC, Defendant Varsity Brands Holding

Company, Inc., Defendant USASF, and Defendant USA Cheer, all of which did

business throughout the United States, to include substantial business in Florida.

      19.   Defendant Varsity Brands, LLC (f/k/a Varsity Brands, Inc.)

(“Defendant Varsity Brands”) has been a for-profit entity organized under the

laws of Delaware with its principal place of business in Memphis, Tennessee. It is

the corporate parent company of Defendant Varsity Spirit, LLC (f/k/a Varsity

Spirit Corporation). At all times relevant to this complaint, Defendant Varsity

Brands retained significant control over the decision making, daily operations, and

was the public face of Varsity Spirit, LLC, and “Varsity All-star.”

      20.   Defendant Varsity Spirit, LLC (f/k/a Varsity Spirit Corporation)

(“Defendant Varsity Spirit”) has been a for-profit entity organized under the laws

of Tennessee with its principal place of business in Memphis, Tennessee.

Throughout the relevant timeframe of this Complaint, Defendant Varsity Spirit,

LLC has organized, participated in, promoted, and fostered Varsity Brand’s

private All-star cheer business, including by facilitating camps, competitions, and



                                         7
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 8 of 142 PageID 8




clinics, and coordinating contracts with member gyms and coaches designed to

exclusively funnel the athletes in these gyms to the Varsity network.

      21.   Defendant Varsity Brands Holding Company, Inc. (“Defendant

Varsity Brands Holding”) is a for-profit entity organized under the laws of Texas

with its principal place of business in Farmers Branch in Dallas County, Texas. At

all times relevant to this complaint, Defendant Varsity Brands Holding Company,

Inc. has been the parent company of Varsity Brands, Inc., and has retained

significant control over the decision making, hiring, firing, training, and

supervision of Defendants Varsity Brands and Varsity Spirit.

      22.   Throughout this complaint, Defendants Jeff Webb, Varsity Spirit,

LLC, Varsity Brands, LLC and Varsity Brands Holding Company, Inc., shall be

referred to as the “Varsity Defendants”. At all times relevant to this Complaint,

either directly or through affiliates, including those wholly owned and/or

controlled, the Varsity Defendants organized, promoted, produced, and/or

managed merchandise, branding, social media campaigns, acquisitions, cheer

camps, gyms and competitions throughout the United States including Florida.

      23.   Defendant U.S. All Star Federation, Inc. d/b/a U.S. All Star Federation

(hereinafter “Defendant USASF”) is a Tennessee non-profit corporation with its



                                        8
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 9 of 142 PageID 9




principal place of business in Memphis, Tennessee, and was created and funded

by Defendant Webb and the other Varsity Defendants as the self-proclaimed

governing and regulatory body promulgating and enforcing rules for all of private

All-star cheer. As set forth more fully in this complaint, Defendant USASF

“certifies” coaches and gyms and promotes athlete participation in “sanctioned”

events, which are almost entirely hosted by the Varsity Defendants and/or their

subsidiaries. Defendant USASF has been controlled by the Varsity Defendants and

does business throughout the United States, including Florida. (See attached as

Exhibit 1, the USASF Code of Conduct).

      24.   Defendant USA Federation for Sport Cheering d/b/a USA Cheer

(“Defendant USA Cheer”) is a non-profit entity also created and funded by

Defendant Jeff Webb, is organized and existing in the state of Texas, and is the

governing body for sport cheering throughout the United States. Defendant USA

Cheer has been likewise controlled by the Varsity Defendants as described further

herein. (See attached as Exhibit 2, the USA Cheer Bylaws).

      25.   The Varsity Defendants and Defendants USASF and USA Cheer

either directly and/or through the Varsity Defendants and their affiliates, which

they control, have been charged with the duty and authority to: (a) promulgate



                                         9
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 10 of 142 PageID 10




 and/or enforce rules governing competitive cheer coaching, competitive cheer

 training, cheer camps and competitions throughout the United States; (b) organize,

 promote, produce, and/or manage cheer camps, clinics, and competitions

 throughout the United States in furtherance of the goals and purposes of the

 conspiracy and conduct set forth herein; (c) establish guidelines and assess

 whether to certify gyms, coaches, and vendors, including without limitation those

 named herein, as members of USASF and/or USA Cheer, qualify to work with

 children and to otherwise provide “credentials” for these member gyms and

 affiliates; and (d) require that athletes, coaches, and clubs purchase annual

 memberships in order to participate in the Varsity Defendants’ sanctioned events.

         26.     Defendant Charlesbank Capital Partners, LP (hereinafter “Defendant

 Charlesbank”) has been a for-profit entity organized under the laws of

 Massachusetts with its principal place of business in Boston, Massachusetts. As set

 forth herein, and during the relevant timeframe, Defendant Charlesbank has been

 a minority and/or majority owner of the Varsity Defendants. During the relevant

 time period, Defendant Charlesbank has done significant business in Florida. 3



 3For instance, the Florida State Board of Administration invested hundreds of millions of dollars on behalf
 of the state’s public pension fund in Charlesbank Funds VII, VIII, and IX.
 https://flauditor.gov/pages/pdf_files/2020-089.pdf; https://employer.frs.fl.gov/forms/2019-20_CAFR.pdf.
 And in November of 2021, Charlesbank acquired Empire Today, a portfolio company of H.I.G. Capital

                                                     10
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 11 of 142 PageID 11




        27.     Defendant Bain Capital, LP (hereinafter “Defendant Bain Capital”)

 has been a for-profit entity organized under the laws of Massachusetts, with its

 principal place of business in Boston, Suffolk County, Massachusetts. Since 2018,

 Defendant Bain Capital has been the majority owner of the Varsity Defendants.

 During the relevant time period, Defendant Bain Capital has done significant

 business in Florida.4

        28.     This complaint involves abuse perpetrated upon minor athletes in

 and    around      Daytona,      Florida,    across     state   lines,   and     via    electronic

 communications, and was perpetrated because of Defendant Kristianson’s access

 to the minor Jane Doe Plaintiffs, which was enabled by, precipitated upon, and

 intrinsically linked to the network of cheering gyms, camps and competitions

 created by Defendant Jeff Webb, marketed by the Varsity Defendants and




 based in Miami. https://www.williamblair.com/News/Empire-Today-and-Charlesbank-Capital-Partners-
 Transaction
 4 For instance, in November of 2021, Bain acquired a majority share in InnovaCare Health, based in
 Orlando, for an undisclosed amount (https://www.baincapital.com/news/innovacare-health-value-based-
 healthcare-leader-announces-majority-investment-bain-capital), and also launched Enhance Health LLC,
 headquartered in Fort Lauderdale, with a $150M capital investment led by Bain.
 (https://www.baincapital.com/news/enhance-health-new-digital-health-insurance-distribution-and-care-
 navigation-platform-launches). Furthermore, Defendant Bain Capital’s Private Credit products are
 available in Florida. https://baincapitalprivatecredit.com/investor-resources/investor-documents




                                                 11
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 12 of 142 PageID 12




 Defendants Bain and Charlesbank, and nominally regulated by Defendants

 USASF and USA Cheer.

       29.   As set forth herein, all Defendants together created a nationwide and

 interconnected network. Even as set forth in internal guidance, policies, and

 procedures, the jurisdiction of the Varsity network extended over all members,

 including Defendants Hughes and Kristianson, as well as the gyms clinics, camps,

 and competitions where they coached, and those places where it was foreseeable

 that these Defendants would interact with minor athletes.

       30.   Venue is proper in the United States District Court for the Middle

 District of Florida, Orlando Division, pursuant to 28 U.S.C. §1391 because: at least

 one of the Defendants is a resident of Volusia County, Florida, or is a corporation

 organized and existing, and with a principal place of business in South Daytona,

 Florida; each of the Defendants, by and through their role in the Enterprise, as

 described herein, had significant and pervasive contacts with Florida and this

 district, including through the flow of funds in interstate commerce, as well as the

 daily management, operation, control, training, and supervision of employees,

 and agents within the enterprise, and minor athletes who Defendants were




                                         12
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 13 of 142 PageID 13




 obligated to protect; and a substantial portion of the acts and omissions

 complained of occurred in this district.


                                 FACTUAL ALLEGATIONS

                            The Competitive Cheer World


       31.    Private All-star cheer is a competitive and dynamic sport where

 athletes compete in a team setting mixing a variety of disciplines including cheer,

 dance, and tumble.

       32.    In contrast to traditional sideline cheer, where athletes are generally

 a complement to another sport, such as football or basketball, All-star competitive

 cheer is a focus unto itself.

       33.    Because of its unregulated nature, All-star cheer is not subject to

 traditional seasonal limitations, or other restrictions against year-round

 performance and training.

       34.    As such, All-star cheer requires an extreme amount of commitment

 from athletes and their families, with near constant training, cross-training, and

 frequent competition travel through multiple seasons throughout the year.

       35.    This level of dedication is costly. A single season can, at minimum,

 cost between $3,000 to $7,000 per team member. Some families spend $20,000 or


                                            13
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 14 of 142 PageID 14




 more for transportation, lodging, membership dues and entrance fees, as well as

 merchandise, uniforms, and other accessories and incidentals, incurred in

 connection with the numerous competitions the athletes attend throughout the

 year.

         36.   While other private companies exist in All-star cheer, over the past

 two decades the Varsity Defendants have emerged as the pre-eminent business as

 the result of a focused initiative by Defendant Webb to monopolize all aspects of

 the industry to advance its market dominance.

         37.   In 1971, Defendant Jeff Webb began his work in cheerleading as an

 employee at the National Cheerleaders Association working for Lawrence

 Herkimer, known as the original pioneer of cheer.

         38.   During his work with Herkimer, Defendant Webb familiarized

 himself with the business and began forming his own plan to monetize the

 operation of cheerleading “camps” – days-long events where athletes would

 converge to learn new skills.

         39.   In 1974, Defendant Webb left Herkimer and formed his own

 company, which he similarly named the Universal Cheerleaders Association. By

 and through Universal Cheerleaders Association, Defendant Webb grew his



                                         14
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 15 of 142 PageID 15




 footprint in the cheer industry, promoting and showcasing his cheer camps, which

 grew throughout the 1980s.

        40.      During the 1980s, Defendant Webb’s cheer camp organization

 transformed into Varsity Spirit.

        41.      As with Herkimer’s association, Varsity Spirit began as a provider of

 cheer camps.

        42.      Defendant Varsity Spirit, LLC, thereafter expanded into competitions,

 merchandising, branding, social media, and even gym ownership and

 management.

        43.      By the early 2000’s, Varsity Brands, Inc. publicly represented itself as:

              a. The largest designer, marketer, and supplier of cheerleader dance

                 team uniforms and accessories;

              b. The biggest operator of cheerleading and dance team training camps

                 and clinics;

              c. A leading organizer of special events for extracurricular activities;

              d. A major provider of studio dance conventions and competitions; and

              e. A producer of studio dance apparent for studio dance competitions.5



 5    See   Varsity    Brands,    Inc.,    Form     10-K,   (Apr.    1,    2002),   available   at:
 https://www.sec.gov/Archives/edgar/data/874786/000093041302001124/c23854_10k.txt

                                                 15
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 16 of 142 PageID 16




           44.     As early as 2002, the largest source of revenue for Varsity Brands, Inc.

 came from its connection with All-star cheer.

           45.     To encourage and increase revenue, the Varsity Defendants created

 “Varsity University,” an “enterprise powered by Varsity Brands, [and which]

 offers comprehensive educational programming to schools and athletic

 programs.”6

           46.     The nine-course Varsity University Program encompasses three

 specific areas: Life Skills, Social Media, and Leadership. By and through Varsity

 University, organized by Varsity Brands, the Varsity Defendants annually bring

 together gym owners, coaches, and other certified and green-lit professionals,

 during which these adults, who pay into the Varsity network, become

 indoctrinated into the culture.

           47.     Through their various dealings in the cheer industry, at all times

 relevant to this complaint, the Varsity Defendants have controlled an estimated

 80-90% of the market.

           48.     As the Varsity Defendants’ footprint in the All-star cheer world

 expanded, so too, did its ability to obtain revenue from its affiliate gyms.




 6   See Varsity University Online Education Programs Athletic Programs & Schools.

                                                     16
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 17 of 142 PageID 17




       49.   As of today, and as set forth more fully herein, a substantial portion

 of the revenue from each individual athlete who cheers for a Varsity affiliate goes

 directly to the Varsity Defendants.

       50.   The total competitive cheer industry is estimated to include as many

 as four million athletes throughout the United States, and is further estimated to

 generate billions of dollars of revenue annually.

       51.   Defendant Champion Elite was a Varsity affiliated gym and

 represented a substantial financial contributor to the Varsity Defendants by

 training minor athletes and taking them to compete in Varsity events both within

 and outside of Florida.

       52.   In or around 2021, Defendant Bain Capital reported that Defendant

 Varsity Spirit’s annual earnings exceeded $1.3 billion.

       53.   A huge source of revenue in the All-star world are the cheer camps,

 clinics, and competitions held locally, regionally, nationally, and even worldwide.

 These events frequently require athletes to travel across state lines. These camps,

 clinics, and competitions provide significant revenue for the Defendants, either

 directly, or indirectly through increased exposure bringing in new crops of

 athletes.



                                         17
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 18 of 142 PageID 18




       54.    Today, these events are hosted and conducted under the guidance,

 certification, and rulemaking of a group of entities created, controlled, and funded

 by the Varsity Defendants.

       55.    In 2003, a group of All-star cheerleading coaches formed an

 independent 501©(3) organization, called the National All-Star Cheerleading

 Coaches Congress (NACCC), to establish uniform rules for all-star cheerleading.

 The group, which would promote both Varsity and non-Varsity events, met in

 Atlanta and created the first set of universal all-star cheerleading rules.

       56.    Within a week, Defendant Jeff Webb founded Defendant USASF in

 response, a move he intentionally calculated to absorb and eliminate this

 competitor group in order to retain complete control of the All-star cheer world.

       57.    From inception, Defendant USASF was touted as the equivalent of a

 National Governing Body whose purpose was to oversee and provide specific

 safety mechanisms for member athletes.

       58.    After forming Defendant USASF, Defendant Webb mandated that

 All-star athletes cheering on behalf of Varsity-affiliated gyms must purchase a

 USASF membership as a requirement to compete at Varsity-sponsored events.




                                           18
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 19 of 142 PageID 19




 Moreover, gyms and coaches who wished to compete at and attend Varsity-

 sponsored events were also required to become members of USASF.

       59.    Within just a few years after the merger, USASF became the exclusive

 body providing regulatory oversight and enforcement for All-star cheer.

       60.    At the same time, in or around 2006, the Varsity Defendants created

 the “USASF Certified” seal, a brand that the Varsity Defendants represented was

 synonymous with a warranty that the gym, the coach, the choreographer, and any

 other adult certified by USASF was held to the highest standards, followed best

 practices, including to prevent athlete abuse, and had been vetted as safe for

 working with children.

       61.    The Varsity Defendants and Defendant USASF also mandated that

 any certified gym or member annually renew their certification. By so doing,

 Defendant USASF and the Varsity Defendants correspondingly vouched for these

 certified entities on an annual basis.

       62.    Credentialing served as a signal to parents and athletes that USASF

 would continually monitor and ensure compliance by its member gyms, coaches,

 and affiliates.

       63.    Meanwhile, the Varsity Defendants also required child athletes



                                          19
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 20 of 142 PageID 20




 cheering at USASF member gyms to pay for USASF membership, to buy their

 uniforms, accessories, and other apparel from the Varsity Defendants through

 their member gym, and to compete in a minimum number of Varsity All-star

 events each year.

       64.   The Varsity Defendants require gyms to sign multi-year supply

 contracts whereby the gyms are paid cash rebates from Varsity Spirit, LLC both

 for buying Varsity merchandise and for sending their athletes to Varsity events.

       65.   The Varsity Defendants control every aspect of cheerleading at every

 level in the United States. The Varsity Defendants even own several gyms and

 cheer programs, many of which were failing or mismanaged before Varsity’s

 takeover.

       66.   All-star athletes competing on behalf of Varsity-member gyms pay

 monthly or annual fees to the gym as well as annual fees to the Varsity Defendants

 for competition attendance, uniforms, accessories, and other related fees.

       67.   To encourage the purchase of Varsity apparel, Defendant Jeff Webb

 has publicly stated that teams performing at Varsity competitions who wore a full

 Varsity uniform and accessories received higher scores.

       68.   Gyms and coaches likewise pay monthly or annual fees to USASF,



                                         20
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 21 of 142 PageID 21




 USA Cheer and the Varsity Defendants.

       69.     The Varsity Defendants and their certified gyms encourage members

 to pay these fees, dues, and other expenses via auto-draft or credit card.

       70.     Athletes who compete on behalf of a Varsity-affiliated gym are

 precluded from transferring from one Varsity-affiliated gym to another without

 permission. This restriction in the athlete’s ability to select a gym of their choice

 after initially agreeing to cheer for a Varsity-gym inhibits athletes from reporting

 misconduct.

       71.     To this day, Defendant Webb remains intimately involved and

 interested in the competitive cheer world.

       72.     In 2019, Jackie Kennedy, Varsity Spirit’s VP of marketing, said of

 Defendant Webb, who was then chairman of the board at Varsity, “Jeff is still

 teaching and leading camps alongside our summer camp instructors. His passion

 permeates into all of the people here at Varsity Spirit, and Jeff cares about every

 single employee. He takes the time to meet every new employee. He learns their

 name, where they are from and what they are passionate about."

       73.     When Defendant Webb left Varsity in December of 2020, he told the

 media he would still be acting in a consulting role for the company.



                                          21
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 22 of 142 PageID 22




         74.     Defendant Webb also created and currently still controls the

 International Cheer Union, which is actively ushering competitive cheer into

 Olympic competition worldwide.

         75.     The Varsity Defendants and their co-conspirators used private All-

 star cheer gyms like Defendant Champion Elite to gain access to paying athletes

 and their families, marketing to them that membership in a USASF Certified gym

 will provide the athlete with access to the highest echelon competitions in the sport

 under strict safety standards.7

         76.     Membership in USASF, and with a Varsity-affiliated gym mandates

 competing in a specified number of annual Varsity events.

         77.     The Varsity Defendants financially incentivize gyms to attend as

 many of their events as possible each year in the form of cash rebates and other

 enticements.

         78.     When attending a Varsity event, members and their families are

 required to purchase rooms at a designated Varsity-chosen hotel at reportedly

 inflated prices. Varsity dubs this the “stay-to-play” system.




 7See “Sanctioned Competitions,” USASF available at: Sanctioned Competitions - Cheer & Dance | USASF
 (“When All Star clubs attend USASF Sanctioned Competitions, they can be assured their athletes, coaches,
 and parents are attending events that comply with the sport’s best safety practices”)

                                                   22
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 23 of 142 PageID 23




       79.    Failure by an athlete to stay at the Varsity designated hotel could

 subject the entire team to disqualification.

       80.    Alcohol is either made available or sold at many of Varsity’s All-star

 events.

       81.    At each of the events, the Varsity Defendants are aware that minor

 athletes are staying in the same hotels, and sometimes the same rooms, as USASF

 certified adult coaches, choreographers, and vendors.

       82.    Moreover, at most of these events, the Varsity Defendants know or

 have reason to know that minor athletes are being exposed to drugs and alcohol.

       83.    In addition to mandating exclusive participation in Varsity events,

 once young athletes join Varsity-affiliated, USASF All-Star cheer gyms, coaches

 and other gym staff begin suggesting one-on-one coaching time, or closed

 choreography time where the parent is not allowed to attend.

       84.    This intensive personal training is represented as necessary for an

 athlete to rise to the next level, compete in higher divisions, win prestige and

 celebrity status that will enable them to cheer at the collegiate level, and possibly

 become coaches themselves one day.

       85.    This system of promoting intensive one-on-one time with the athletes



                                          23
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 24 of 142 PageID 24




 gives coaches and staff increased access to young and impressionable athletes and

 corresponds to increased funding for the Varsity Defendants’ system of camps and

 competitions, and which creates future generations of Varsity coaches and Varsity-

 backed gyms.

       86.    To inspire greater and more dedicated athlete participation, the

 Varsity Defendants, in conjunction with their member gyms, coaches, and

 vendors, in 2011 created “Cheerlebrity,” whereby the Varsity Defendants used

 their online, social media, and significant industry influence to promote certain

 gyms, coaches, and athletes as celebrity role models.

       87.    “Cheerlebrity” became the impetus behind the Netflix show “Cheer”

 that propelled Jerry Harris to fame.

       88.    “Cheerlebrity” was a competition created by the Varsity Defendants

 in the image of American Idol which sought to promote Varsity All-star gyms and

 cheerleaders through social media presence.

       89.    “Cheerlebrity” is one example of marketing and branding that

 catered specifically to young athletes and was intended to increase young athlete

 participation and desire to participate in the industry.

       90.    Moreover, the popularity of “Cheerlebrity,” began a concerted



                                          24
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 25 of 142 PageID 25




 campaign by the Varsity Defendants and Defendant USASF to reach droves of

 young potential athletes online, and these Defendants encouraged their member

 athletes, coaches and gyms to similarly utilize social media, and online branding

 and content to increase athlete participation.

       91.      Defendants Champion Elite and Hughes were well-known in the

 Varsity Spirit, LLC community, enjoying status and promotion on the Varsity

 Defendants’ marketing platforms and branding content, including social media

 materials. As such, the Varsity Defendants boosted the reputations of Defendants

 Champion Elite, Hughes, and Kristianson in the cheer community to obtain access

 to new crops of minor athletes, to boost revenues, and to boost Defendant

 Champion Elite and Defendants Hughes’ reputations and footprints in the Varsity

 world.

       92.      To further perpetuate this connection between Varsity-backed

 athletes and coaches, parents were encouraged to allow their children to travel to

 gyms, camps and competitions, and to stay with host-families, choreographers,

 and gym owners, and the children were encouraged to look up to these leaders in

 their sport.

       93.      As a critical part of their scheme, Defendants, including the Varsity



                                           25
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 26 of 142 PageID 26




 Defendants, Defendant USA Cheer and Defendant USASF, tout the safety and

 security of their affiliate-gyms and coaches through the sale and marketing of their

 “certified” status to lull parents into comfort whereby they have no fear for the

 safety of their children to train and compete with them.

       94.   Through this certification, or credentialing Defendant USASF, by way

 of authority conferred by the Varsity Defendants, “credentials coaches, certifies

 legality officials, sanctions events and maintains and adjusts (as needed) safety

 guidelines, all with the goal of providing the safest possible environment for cheer

 and dance athletes to train and compete.”

       95.   This message from Defendant USASF’s website was the impetus

 behind Plaintiffs’ participation and annual membership renewals. Plaintiffs relied

 upon messages such as this from Defendants about the safety of the Varsity

 network over other cheer networks.

       96.   The Varsity gym network also encourages athletes to relocate to

 sponsor or host families who are either coaches, gym owners, or live near top-

 ranked Varsity-sponsored gyms.

       97.   This feature of the system serves to disassociate the athletes from their

 families, and foster a familial closeness with the Varsity-sponsored gyms, coaches,



                                         26
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 27 of 142 PageID 27




 and gym owners.

       98.     Tho perpetuate their scheme to create an unending pipeline of new

 athletes, coaches, and gym owners, Defendant Bain Capital, Defendant

 Charlesbank, the Varsity Defendants, Defendant USA Cheer and Defendant

 USASF rely heavily upon constant representations that the network of gyms and

 coaches, such as Defendants Champion Elite, Hughes, and Kristianson, are safe

 for interacting with children.

       99.     At the Varsity University conferences, while learning about the

 Varsity network and how to expand its influence to more children and their

 families, coaches, gym owners, and vendors experience a party atmosphere which

 encourages alcohol consumption and reports of resulting debaucheries are

 widespread.

       100.    The coaches and gym owners are also inundated with promises of

 gifts and financial gain if they continue to produce young member-athletes and

 continue promoting the Varsity brand.

       101.    The Varsity Defendants have perpetuated a party atmosphere at their

 member gyms, as well as in camps and competitions, where minor athletes are

 knowingly exposed to alcohol and drug use, and which does not adequately



                                         27
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 28 of 142 PageID 28




 promote athlete safety including from emotional or physical harm and abuse.

       102.   By representing a safe and superior environment, Defendants

 collectively sought to create a revolving door of young athletes to perpetuate the

 Enterprise for years whereby these athletes spend tens of thousands of dollars

 apiece for their membership, coaching, uniforms, camps, training, competition

 fees, travel fees, and other merchandise, until the athletes “come of age” and

 become coaches and gym owners themselves, perpetuating the abuse cycle.

          The Varsity Defendants’ Control Over the Gym Environment

       103.   Under the direction and control and/or supervision of Defendant

 Webb, Defendant Bain Capital, and Defendant Charlesbank, to perpetuate the

 business of the Varsity Defendants, Defendant USASF, and Defendant USA Cheer,

 Defendants have relied upon access to child athletes who will pay regular dues

 and fees to compete at Varsity-affiliated gyms, and in Varsity competitions, and

 who further purchase Varsity products, uniforms, and merchandise.

       104.   To gain advantage over other private All-star cheer event companies

 and brands, the Varsity Defendants specifically promised that their network of

 coaches, gyms, trainers, choreographers and videographers provided superior




                                        28
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 29 of 142 PageID 29




 safety and was, “the gold standard” for athlete safety, encouraging athletes and

 their families to trust in the network.

       105.   For example, on the Varsity website, which is applicable to

 Defendants Varsity Spirit, Varsity Brands, LLC, and Varsity Brands Holding

 Company, the Varsity Defendants make numerous representations about the

 importance of participant safety, including safety from abuse and misconduct.

       106.   Varsity has also posted: “At Varsity Spirit and Varsity All-star, the

 health and safety of athletes is top priority. Varsity Spirit is committed to creating

 a safe and positive environment for its participants’ physical, emotional, and social

 development and promoting an environment free from abuse and misconduct.”

       107.   Varsity also made specific representations about how it would

 implement this promise to patrol the sport, stating: “Varsity Brands, Varsity

 Spirit’s parent company, has formed a Safety Council to include outside,

 independent experts who will help to closely examine and evolve current athlete

 safety guidance – including with respect to detecting and preventing sexual

 misconduct against minors – while incorporating best safety practices. Please

 direct all questions and concerns regarding safety to safety@varsity.com.”




                                           29
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 30 of 142 PageID 30




            108.    The Varsity Defendants have also represented: “Varsity Spirit

 provides training to Varsity Spirit Instructors and Staff regarding abuse and

 reporting. Varsity Spirit enforces its own policies that prohibit abuse and

 misconduct and are designed to reduce, monitor and govern the areas where

 potential abuse and misconduct might occur, in addition to the policies

 implemented by USA Cheer and USASF addressing certain types of abuse and

 misconduct. The following types of misconduct are specifically prohibited in these

 policies: (i) Sexual Abuse and Misconduct; (ii) Physical Abuse and Misconduct;

 (iii) Emotional Abuse and Misconduct; (iv) Bullying, Threats, and Harassment; (v)

 Hazing.”

            109.    The Varsity Defendants concluded, “these policies contain proactive

 measures such as restrictions on one-on-one interactions with minor athletes,

 travel policies, and communication policies.” 8

            110.    On September 20, 2022, Varsity Spirit president Bill Seely sent a

 message to gym owners and coaches “reaffirming Varsity All-star’s long-standing

 commitment to athlete safety,” and touting Varsity Brands and Varsity Spirit as

 the “gold standard” for cheer and dance.




 8   Information available at: Varsity Spirit - Safety

                                                         30
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 31 of 142 PageID 31




       111.   The Varsity Defendants intended for parents and athletes to rely on

 these specific promises when deciding whether to participate in the Varsity All-

 Star network over other private All-star networks, and used the power of this

 messaging, as well as enforcement bodies USASF and USA Cheer to completely

 overwhelm the industry, and each of the Jane Doe Plaintiffs and their families did

 rely on these specific promises about safety when choosing to participate with

 Varsity network gym Champion Elite, and Varsity members, Defendants Hughes

 and Kristianson.

       112.   The Defendants also intended for the athletes and their parents to rely

 on these specific assurances of safety in order to continue collecting membership

 dues and fees from athletes in exchange for protection through Defendants USASF

 and USA Cheer band the Varsity Defendants.

       113.   The Varsity Defendants, specifically through personal actions by

 Defendant Webb, created Defendant USASF through a $1.8 million interest-free

 loan. The 2004 non-profit charter certificate lists USASF’s address to be Varsity’s

 address.

       114.   At its inception, USASF was purportedly established to be the

 “sanctioning body” that would regulate all-star cheer by setting guidelines,



                                         31
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 32 of 142 PageID 32




 policies, procedures, and processes to ensure an environment that was safe for

 young athletes in the All-star cheer arena.

       115.   In 2006, Defendant USASF began “certifying” All-star cheer gyms

 with a special seal of approval, a credential that warranted the gym and its

 coaching staff could be trusted for cheerleader safety.

       116.   Defendant USASF also credentialed coaches of certified gyms,

 requiring that these coaches register with USASF, and, by and through the USASF

 seal, certifying that the coaches were safe and green-lighting the coaches as

 participants in USASF-sanctioned events, camps, clinics, and competitions.

       117.   As a further demonstration of its authority, in 2009, Defendant USASF

 created the “Professional Responsibility Code,” which purportedly applied to all

 members and established guidelines to “maximize not only the integrity and

 legitimacy of the all-star industry, but to safeguard the athletes who participate.”

 (Emphasis added).

       118.   Yet, according to its parameters, the ethics that the USASF community

 strive to achieve are geared more toward discouraging members from internal

 poaching or solicitation than respecting the bodily integrity of young athletes. For




                                         32
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 33 of 142 PageID 33




 instance, the ethical standards outlined in the Professional Responsibility Code

 include the following:

          i. I pledge, as a member of the USASF, I will not initiate
             contact with another program’s athletes and families in
             an effort to solicit or otherwise entice them to leave the
             program they belong to and participate in my program.
             This practice is unethical;

          ii. I pledge, as a member of the USASF, I will not encourage
              any of my athletes or family members to contact another
              program’s athletes and families during the competitive
              season in an effort to solicit or otherwise entice them to
              leave the program they belong to and participate in my
              program. This practice is unethical.

         iii. I pledge, as a member of the USASF, I will honor and
              encourage everyone to respect all mutual agreements
              and/or contracts made between parties, whether formal
              or informal, by programs, coaches and athletes….

 See USASF Professional Responsibility Code, Version 11.0, Process.

       119.   By creating a Professional Responsibility Code requiring members to

 pledge against internal competition, USASF essentially guaranteed that gyms

 would enjoy uninfringed access to and control over athletes and their families.

       120.   Defendant USASF also took over the reporting and investigation into

 allegations of misconduct at member gyms, and by individual members, creating

 a central reporting mechanism. As such, if an athlete or their family member



                                         33
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 34 of 142 PageID 34




 wished to report an incident or issue to the member gym, the athlete was directed

 to Defendant USASF.

       121.   In 2007, Defendant Webb personally, and on behalf of the other

 Varsity Defendants, also formed USA Cheer, which was established to provide

 guidelines, policies, procedures, and processes to ensure a safe environment for

 young athletes in competitive cheer, including All-star.

       122.   Defendant USA Cheer was also created with an interest-free loan

 from the Varsity Defendants. The director of education and programs, Jim Lord,

 has listed Defendant USA Cheer’s address to be the same as Varsity’s.

       123.   Defendants USASF and USA Cheer were responsible for creating and

 enforcing guidelines, policies, procedures, and processes for reporting coaches for

 misconduct and taking appropriate action for that misconduct.

       124.   However, Defendants USASF and USA Cheer were both operated

 and controlled by the Varsity Defendants.

       125.   The Varsity Defendants controlled Defendant USASF from inception.

 The Varsity Defendants submitted the original trademark application for the

 marks “U.S. All Star Federation” and “USASF.”




                                         34
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 35 of 142 PageID 35




       126.   For at least the first 15 years of its existence, and upon information

 and belief, Defendant USASF’s offices were located at Defendant Varsity Spirit’s

 corporate address, a Varsity representative answered the phone for USASF,

 USASF employees were paid directly by Varsity, and Varsity cashed checks issued

 to the USASF.

       127.   Defendant Varsity Spirit, LLC was listed for a time as the owner of

 Defendant USASF.

       128.   During the operative timeframe of this complaint, the Varsity

 Defendants also controlled the Board of Directors for Defendant USASF, which

 sets policy for USASF. The Board is composed of 13 voting members, one seat each

 for the seven cheer competition producers that started the USASF, the USASF

 Chairman, a senior USASF staff member, and four program owner members,

 including the Chairman of the National All Stars Connection. Two USASF board

 seats are permanent and are held by representatives named by the Chairman of

 USASF.

       129.   As Varsity has acquired more and more of the previously

 independent event producers who made up a portion of Defendant USASF’s

 board, it has expanded its influence over the USASF Board, with as much as 75%



                                         35
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 36 of 142 PageID 36




 of the seats on the Board of Directors being attributable to Varsity and its

 numerous entities. The seats that Varsity does not control do not have voting

 rights.

       130.   Defendant USASF’s website is located at www.usasf.net, a URL

 which was once openly owned by the Varsity Defendants.

       131.   Upon information and belief, the Varsity Defendants eventually

 began concealing ownership and control of the URL behind the registration of

 “PERFECT PRIVACY, LLC.”

       132.   As with Defendant USASF, Defendant USA Cheer listed Defendant

 Varsity Spirit, LLC’s Tennessee headquarters as its own headquarters, and

 Defendant USA Cheer’s board included six Varsity employees.

       133.   Under Defendant USA Cheer’s bylaws, its thirteen-member board

 must include members from the following seven organizations: The Universal

 Cheerleaders Association, CheerSport, National Cheerleaders Association, United

 Spirit Association, American Cheerleaders Association, Universal Dance

 Association, and JAMfest.

       134.   Each of the seven aforementioned entities is owned by the Varsity

 Defendants and the PE Defendants.



                                       36
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 37 of 142 PageID 37




        135.    John Patterson, a former staffer of the Nonprofit Risk Management

 Center who consulted on youth sports safety, said he has never heard of an

 arrangement quite like the one between Varsity and these non-profit governing

 bodies. He said Varsity’s control of USASF meant, “whatever Varsity wants,

 Varsity can get” in terms of rules and regulation of the cheer world.

        136.    This structure meant that the Varsity Defendants were entirely self-

 regulated and were not accountable to any independent entity.

        137.    In the 2010s, and amidst reports of sexual abuse against young

 athletes competing in a variety of sports, Congress authorized the creation of the

 U.S. Center for SafeSport, whose goal is to end sexual, emotional, and physical

 abuse on behalf of athletes.

        138.    Around the same time, in 2010, in Cheer Coach & Advisor Magazine 9,

 Defendant USASF was officially quoted as saying, “Through credentialing,

 coaches are made aware of expectations as teachers and role models. It is the goal

 of the USASF to infuse good decisions into each and every credentialed coach so

 that they may expand the positive life experience of all-star cheerleading and

 dance into the lives of the youth they encourage. USASF is recognized as the



 9At the time of this particular issue, Defendant Webb served on the editorial board of Cheer Coach &
 Advisor.

                                                 37
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 38 of 142 PageID 38




 baseline of education for each individual coach and also expect these standards to

 be met.”

       139.   Since its founding, USASF has supported the SafeSport mission, and

 has recognized the importance of protecting athletes from sexual, physical, and

 emotional abuse within the sport.

       140.   Despite insinuating to members that Defendant USASF participated

 in SafeSport, Defendant USASF has never provided any compliance reporting

 regarding All-star to the U.S. Center for SafeSport. Instead, Defendant USASF

 operates its own version of SafeSport, Safe@Allstar, purposefully misleading

 families into thinking that this internal reference to SafeSport is the same thing.

       141.   Athletes and their families, including Jane Does 1, 2, and 3, ,

 understood the Varsity Defendants, and Defendants USASF and USA Cheer were

 responsible for protecting athletes from harm and paid these entities in part for

 this service. Instead, these entities failed to actively protect these athletes, and

 appropriately investigate reports of misconduct, to communicate internally and

 with law enforcement about misconduct, and has further failed to operate as

 intended.




                                          38
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 39 of 142 PageID 39




       142.   The Varsity Defendants, through Defendants USASF and USA Cheer,

 can and do enforce bans of athletes, coaches, and teams in competitions for minor

 rule infractions like the size of hairbows and the use of glitter. However, these

 Defendants have repeatedly failed to enforce suspensions or bans of coaches,

 choreographers, and music producers who are known or suspected to have

 committed child sexual abuse.

       143.   Defendant Varsity Spirit, LLC, through Defendants USASF and USA

 Cheer, has created and is responsible for oversight and enforcement of their

 Professional Responsibility Codes, which in addition to discouraging competition

 among members, specifically acknowledges the threat of harm or abuse by coaches

 in cheer. For instance, according to the USASF Professional Responsibility Code,

 “Once a coach-Athlete relationship is established, a Power imbalance is presumed

 to exist throughout the coach-Athlete relationship (regardless of age) and is

 presumed to continue for Minor Athletes after the coach-Athlete relationship

 terminates until the Athlete reaches 20 years of age.”

       144.   According to its own literature, the Professional Responsibility Code

 is applicable to “all members,” referring to Varsity-affiliated gyms.




                                          39
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 40 of 142 PageID 40




       145.    In addition, according to Defendant USA Cheer’s bylaws, a primary

 purpose of Defendant USA Cheer was to “[e]ncourage and support safety in

 Cheer, including (i) providing and coordinating technical information on physical

 training, equipment design, coaching, and performance analysis in Cheer…”.

 (USA Cheer Bylaws as p. 6).

       146.    At the same time that Defendant USASF and Defendant USA Cheer,

 and even the Varsity Defendants, publicly supported the mission of SafeSport, the

 Varsity Defendants were simultaneously lobbying against the inclusion of cheer

 as a sport.

       147.    The Varsity Defendants’ effort to preclude cheer from being

 considered a sport is directly in line with Defendant Varsity Spirit’s business

 model. If cheer were considered a sport, it would necessarily increase athlete

 oversight and regulation, and would diminish the times, methods, and places that

 the athletes would be allowed to compete.

       148.    From 2014 to 2018, Defendant Charlesbank wholly owned the Varsity

 Defendants and thus owned Defendants USA Cheer and USASF and provided

 capital to the Varsity Defendants and Defendants USA Cheer and USASF for the




                                        40
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 41 of 142 PageID 41




 purpose of building the network of Varsity-affiliated private gyms and coaches

 throughout the United States.

       149.   During this same timeframe, Defendant Charlesbank, as well as the

 Varsity Defendants, reaped massive financial benefits associated with the growing

 network of families who came into Varsity-affiliated gyms, and who believed the

 Varsity Defendants’ representations that they were providing safe and protective

 environments for families.

       150.   In fact, Defendant Charlesbank initially purchase the Varsity

 Defendants for about $1.2 billion, but nearly doubled this value when it sold the

 majority of the company to Defendant Bain Capital less than four years later.

       151.   In 2018, Defendant Bain Capital purchased the Varsity Defendants

 from Charlesbank for roughly $2.8 billion. At the time of the sale, Defendant

 Charlesbank made a new investment in Varsity alongside Defendant Bain and

 retained a minority stake in the business.

       152.   Related to its purchase, Defendant Bain Capital stated: “This new

 partnership presents Varsity Brands with an exciting opportunity to continue to

 expand and improve our products and services while remaining steadfast to our

 commitment to improving student life and overall engagement…. Bain Capital’s



                                         41
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 42 of 142 PageID 42




 extensive consumer and technology experience and their commitment to our

 mission of empowering young people will help us accelerate our growth to a new

 level.”10

         153.    In addition, Defendant Bain represented: “For over 50 years, Varsity

 Brands has served as an essential force for good as part of the academic and

 athletic student experience…We are excited to partner with the company’s

 experienced, committed management team to amplify the company’s ecommerce

 operations and digital expansion, while accelerating its growth through

 complementary acquisitions and organic initiatives to become the go-to source for

 every school’s sport, spirit and achievement needs.”11

         154.    Upon information and belief, Defendant Bain’s accelerated growth

 model for the Varsity Defendants depended upon access to an ever-expanding

 network of young athletes who would not only purchase Varsity branded

 merchandise, but would also continue to attend Varsity events. In that regard,

 during the operative timeframe, the Varsity Defendants issued annual invoices to

 members, including coaches, gyms, and athletes, payment of which was


 10 See “Varsity Brand, the Leader in Elevating Student Experiences in Sports, Spirit, and Achievement, to be
 Acquired by Bain Capital Private Equity,” June 19, 2018, available at: Varsity Brands, the Leader in
 Elevating Student Experiences in Sports, Spirit, and Achievement, to be Acquired by Bain Capital Private
 Equity | Bain Capital.
 11 Id.



                                                     42
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 43 of 142 PageID 43




 mandatory and ultimately profited Defendant Bain and its minority partner

 Defendant Charlesbank.

         155.    According to publicly available information, Defendant Bain’s

 strategy was to leverage the Varsity Defendants’ monopoly over services in the

 All-star industry (i.e. the gyms, camps, clinics, and member services) to support

 product sales.12

         156.    This was not the first acquisition by Defendant Bain of a company

 purporting to offer camps and other services to youth. In 2006, Defendant Bain

 purchased CRC, a company providing therapy services to troubled youth in Utah

 and California.

         157.    Following the Bain acquisition, and application of its accelerated

 growth model, CRC experienced a drastic increase in reports of abuse, including

 six wrongful death lawsuits related to children in its care.13

         158.    Notably, Defendant Bain was not a mere investor in CRC. Rather,

 members of CRC actually sat on Defendant Bain’s board.




 12 See “Bain to Acquire Varsity Brands, a top maker of cheerleader uniforms and school spirit items, for
 roughly $2.5 billion,” Lauren Hirsch (Jun. 19, 2018), available at Bain in a reported $2.5B deal for school
 spirit company Varsity Brands (cnbc.com). As set forth in the article, “[t]he bet is [Varsity’s] service-
 focused business [i.e. camps, competitions, and clinics] will help support product sales and fend off
 online competitors.”
 13 See Dark side of a Bain success | Salon.com.



                                                      43
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 44 of 142 PageID 44




       159.   Defendant Bain enjoyed a similar relationship with Defendant Varsity

 Brands after the 2018 acquisition, taking seats on Defendant Varsity’s Board, and

 ingraining itself into the decision-making of the company, including its decisions

 surrounding athlete safety.

       160.   Meanwhile, at the time of Defendant Bain’s acquisition, the Varsity

 Defendants were embroiled in very public litigation arising out of the Varsity

 Defendants’ alleged anti-competitive tactics in acquiring gyms and curbing other

 event-companies.

       161.   In 2020, former Varsity-member coach and “Cheerlebrity” Jerry

 Harris, star of the Netflix series “Cheer,” was accused of soliciting sex from two

 children during the 2019 Varsity-competition season. Harris plead guilty in

 February, 2022, and was sentenced in July, 2022 on two counts, one of which

 included traveling across state lines with the intent of soliciting sex from a minor.

 This travel occurred in conjunction with a cheer competition.

       162.   After the Bain acquisition, on December 7, 2020, Defendants USASF

 and USA Cheer announced a universal system for reporting athlete safety

 concerns, as well as a central repository listing ineligible coaches and individuals.

 Defendants USASF and USA Cheer stated that these measures “will provide a



                                          44
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 45 of 142 PageID 45




 robust athlete safety infrastructure readily available across the entire cheer

 community.”

       163.   This list, the “Unified Ineligibility List,” is accessible online, lists the

 nature of the infraction, occasionally provides public documentation, and names

 the offender.

       164.   According to a December 7, 2020 press release issued by Defendants

 USASF and USA Cheer related to the Unified Ineligibility List: “We took these

 latest steps to ensure that our processes for reporting abuse are clear and consistent

 throughout the cheer community, and to facilitate the identification of individuals

 deemed a threat to participants.”

       165.   As of the date of filing of Plaintiffs’ initial complaints, this list

 included roughly 230 names and entities, including Defendant Erick Kristianson.

 The vast majority of the suspensions, both temporary and permanent, are related

 to claims of sexual misconduct between minors and their coaches, choreographers,

 and other adults. Some of the alleged misconduct dates back more than ten years.

       166.   Far from providing security for athletes, the list is replete with

 temporary suspensions where the only information provided is “Member policy

 violated related to athlete protection,” with no records or other documentation.



                                           45
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 46 of 142 PageID 46




       167.   In addition, the list does not provide the status of the investigation,

 and is not updated on a regular basis.

       168.   For instance, as it relates to Defendant Kristianson, and despite public

 reporting and news articles related to the allegations of sexual misconduct against

 him, Defendant USASF’s website lists him only as temporarily suspended, and

 provides that this suspension is based on “[m]ember policy violation related to

 athlete protection.”

       169.   Any USASF member who is suspended has the right to appeal the

 decision. Yet, the affected athletes never receive notice that the suspended coach

 has invoked their appellate rights, nor are the athletes otherwise involved in this

 appellate process or decision.

       170.   Defendant USASF admits on its own website that it does not include

 all decisions, but rather “only those that could pose a potential risk to the broader

 sport community.” Whether an offense rises to the level of posing a potential risk

 to the broader sport community is left entirely to the discretion of USASF, the

 Varsity Defendants and the PE Defendants.

       171.   The majority of instances of misconduct included on the USASF list

 arise out of sexual harm or misconduct. This repeated misconduct gave notice to



                                          46
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 47 of 142 PageID 47




 all Defendants that a broader issue existed within the Varsity Defendants’ cheer

 community.

       172.   Yet, other than the list, the Varsity Defendants made few if any

 modifications to the internal screening process for coaches, and made no

 modifications to the gym and competition environment.

       173.   During the interim of the allegations set forth above, the Varsity

 Defendants, under the ownership and control of Defendant Bain and Defendant

 Charlesbank, and in conjunction with Defendant USASF and Defendant USA

 Cheer, have hosted multiple competitive events throughout the United States

 including the annual Worlds’ competition in Orlando, Florida, during which time

 affiliated teams from across the country converge at a pre-selected location using

 hotels, premises, and businesses hand-selected by the Varsity Defendants.

       174.   During these events, underage student athletes comingle with other

 teams, coaches, choreographers, and authorized Varsity vendors either without

 chaperones or minimally chaperoned, and are exposed to environments where

 drugs and alcohol were readily available, and where the student athletes were

 subject to rampant solicitation and inappropriate sexual conduct and innuendoes,

 including by coaches such as Jerry Harris and Scott Foster.



                                         47
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 48 of 142 PageID 48




       175.   At the same time, individual gyms and coaches would receive

 substantial benefits from affiliation with the Varsity Defendants, including the

 reputational benefits of being affiliated with Defendant USASF, Defendant USA

 Cheer, the Varsity Defendants’ brands, and monetary benefits directly linked to

 the number of competitions in which a gym participated as well as the number of

 athletes the gym brought to the competition.

       176.   Moreover, the individual gyms serve as platforms selling additional

 Varsity branded merchandise, such as sweatshirts, tops, hats, and jewelry.

       177.   To perpetuate the popularity of certain gyms and coaches, the Varsity

 Defendants utilized social media, often liking posts and messages by specific

 athletes and coaches, such as Defendant Champion Elite, and Defendant

 Kristianson, and providing these same athletes and coaches with promotional

 codes to pass on to minor athletes to sell the Varsity Defendants’ goods and

 services.

       178.   In this way, the Varsity Defendants and the gyms and coaches had a

 symbiotic relationship, where the gyms and coaches supplied the Varsity

 Defendants with hundreds of millions of dollars of revenue from under-age




                                         48
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 49 of 142 PageID 49




 athletes, and the coaches and gyms used the Varsity Defendants’ reputation to

 bolster their own reputation with minor athletes.

       179.   The Varsity Defendants, Defendant Charlesbank, and Defendant Bain

 Capital relied upon the gyms and coaches to create a replenishing group of

 underage athletes, and future coaches, and gym owners, to provide a guaranteed

 stream of revenue.

       180.   As such, it was contrary to the Varsity Defendants’ business model

 for Defendants USASF and USA Cheer to ban coaches and gyms from their system,

 as every coach and gym represented a pipeline of current and future revenue for

 the Varsity Defendants.

       181.   Rather, when allegations about a specific coach or Varsity affiliate

 were made, the Varsity Defendants, Defendant USASF, and Defendant USA Cheer

 either ignored the allegations, determined the allegations were not “credible”

 based upon arbitrary criteria, or allowed the would-be abuser to quietly exit the

 Varsity-affiliated program, with the result that the accused could relocate to a new

 gym or facility without parents knowing about the allegations of misconduct.

       182.   The PE Defendants knew or should have known that the Varsity

 Defendants, Defendant USASF, and Defendant USA Cheer were not appropriately



                                         49
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 50 of 142 PageID 50




 enforcing policies, processes, and procedures related to athlete safety, and that the

 Varsity Defendants were hosting events without regard for, and in contravention

 to the safety of child athletes.

       183.   Moreover, to incentivize coaches and gyms, the PE Defendants

 continued to authorize the Varsity Defendants offering significant monetary

 benefits to increase sales of Varsity goods, and participation in Varsity events,

 including by providing cash rebates and promotional codes, as well as in creating

 event environments that comingled child-athletes with adult coaches, gym

 owners, and choreographers.

       184.   In these environments, it was reasonably foreseeable that the athletes

 would be minimally supervised, and that the athletes would be exposed to drugs

 and alcohol. his environment fostered and contributed to the sexual, mental, and

 physical abuse inflicted upon the athletes.

       185.   This competition and gym network was the brainchild of Defendant

 Jeff Webb, who used the competitions as a mechanism for his companies to

 establish dominance in the cheer market.

       186.   Plaintiffs are informed and believe that certain employees of the

 Varsity Defendants resigned their positions because of the abuse and systemic



                                          50
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 51 of 142 PageID 51




 failures they saw within the system, including failures to uniformly apply policies

 and procedures related to athlete safety, rampant drug use within the leadership

 of the Varsity Defendants, alcohol and drug use by coaches and athletes during

 competitions, and general favoritism and promotion of teams that chose to

 endorse or affiliate with the Varsity Defendants, disadvantaging independent

 teams.

        187.    Defendant Webb was previously Varsity’s president but resigned in

 2020 amid the Jerry Harris sex abuse scandal.

        188.    During the operative timeframe of this complaint, Defendant USASF

 received numerous reports and allegations against coaches, choreographers,

 videographers, and music directors. The general response from Defendant USASF

 was to disregard these reports and accusations as attempts by disgruntled athletes

 and parents to get coaches and gyms in trouble if the athletes did not receive

 coveted team positions.

        189.    A 2020 investigative series by journalists Marisa Kwiatkowski and

 Tricia L. Nadolny for USA Today revealed scores of repeat sex offenders active

 within USASF certified gyms and preferred vendor lists. 14 Some of the cases of


 14 https://www.usatoday.com/in-depth/news/investigations/2020/09/18/cheerleading-cheer-investigation-
 sexual-misconduct-sex-offender-banned-list/3377622001/


                                                  51
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 52 of 142 PageID 52




 which Defendants Bain Capital, Charlesbank, and the Varsity Defendants had or

 should have had knowledge include:

            a. A Virginia gym owner was convicted of sexual battery and assault

                and placed on the sex offender registry after three girls he coached at

                his Virginia gym came forward. As of 2020, this coach was still listed

                as the gym’s owner and was still USASF certified. Varsity continued

                to invite his gym to competitions. One of his victims had to stop

                cheering competitively because her convicted abuser was allowed to

                stay involved around children and in proximity to her.

            b. A Charlotte, North Carolina coach who was arrested for two counts

                of sexual assault of a minor and lost his middle school teaching job

                continued to have access to minors afterward. Though the gym’s

                owners claimed he was told he was no longer welcome to work with

                the gym’s athletes after his arrest, he continued to appear in official

                social media accounts of the gym, was connected by the gym director

                to parents for private lessons, and attended a Varsity event in Florida




 https://www.usatoday.com/in-depth/news/2020/12/23/cheerleading-cheer-sexual-misconduct-complaints-
 usasf/6484248002/

                                                52
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 53 of 142 PageID 53




              where he was photographed posing next to the gym’s athletes in a

              gym uniform with the word “Coach” on his shorts.

          c. A coach who had been fired from a gym and charged with child

              pornography was discovered to still be working in the cheer industry

              by the gym owner who had originally fired him. The gym owner

              called Varsity, who told her his background check was fine. After she

              went to the courthouse to get the records of his conviction and sent

              them to Varsity, months passed and the man continued coaching

              children at Varsity events through USASF gyms.

          d. A Washington gym owner was not banned by USASF until more than

              a year after the organization received reports in 2018 that he had been

              accused of sexual misconduct with minors.

       190.   Moreover, Defendant USASF refused or failed to report non-member

 coaches and adults accused of misconduct to law enforcement – contravening its

 representation that USASF and its members are mandatory reporters. (see USASF

 Terms and Conditions of Coach Membership);




                                         53
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 54 of 142 PageID 54




         191.    Defendant USASF has received hundreds of complaints against

 coaches, choreographers, videographers, and others accused of sexual

 misconduct.

         192.     Until recently, however, Defendant USASF failed to dedicate fulltime

 staff to managing investigation of these complaints.

         193.    Ginger Wilczak, the part-time contract employee USASF eventually

 hired to field reports of misconduct, stated that she worked 10 hours per week at

 most.15 In an interview with Mary Carillo in an HBO Real Sports investigative

 segment, she reported that she had been actively prevented from taking the

 necessary actions to perform the job function for which she was purportedly hired.

         194.    Former Varsity executive Marlene Cota has also publicly stated her

 impression that Defendant Varsity placed its brand over the safety of its athletes.16

         195.    Defendant USASF has been excruciatingly slow to develop policies

 and procedures for keeping athletes safe from sexual abuse in an industry which

 was known to them to be rife with it.




 15 . https://usatoday.com/in-depth/news/2020/12/23/cheerleading-cheer-sexual-misconduct-complaints-
 usasf/6484248002/
 16 See “Cheerleading Antitrust suit spurs brawl over ex exec’s documents,” Daniel Libit, Sportico (Jan. 12,

 2022) available at: http://www.sportico.com/law/news/2022/varsity-spirits-antitrust-accusers-1234658119.

                                                     54
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 55 of 142 PageID 55




       196.   Meanwhile, according to its website: “USASF is the U.S. All Star

 Federation. It’s about safety standards. It’s about coaches’ education. It’s about

 providing a safe environment to allow for the continued growth of all-star

 cheerleading and dance across the country. It’s about parents knowing their

 children are being taught using safe methods that are in accordance with the

 standard of care. It’s about standardization of rules from one competition to the

 next. It’s about time.” (Emphasis added).

       197.   In the years since this public representation, however, Defendant

 USASF’s gym and coach training has focused almost exclusively on avoiding

 physical injury to the athletes.

       198.   In fact, Defendant USASF’s “Athletic Performance Standards” dealt

 only with things like hair accessories, makeup, uniforms, choreography, and

 music. The general message is that Defendant USASF concerns itself more with

 how its athletes look than how its coaches behave.

       199.   In 2012, Defendant USASF reiterated its “image and appearance

 policy” to address “the increasing criticism about the general appearance of our

 athletes during competition and the unflattering media stories that have focused




                                        55
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 56 of 142 PageID 56




 on how our sport is presenting its athletes, particularly those in the younger age

 groups.”

       200.   At the same time, Defendant USASF began offering, but not

 requiring, a $1 million sexual abuse/sexual molestation policy to gym owners

 through K&K Insurance.

       201.   It took until 2015 for Defendant USASF to implement background

 checks on certified coaches and gym owners. However, Defendant USASF failed

 to uniformly apply the process.

       202.   In 2018, the SafeSport Act was ratified as an amendment to the Child

 Abuse Victim’s Right Act, creating a private right of action for minor athletes who

 had been abused and creating the U.S. Center for SafeSport, a central regulatory

 body and clearinghouse for investigation of reports of sexual abuse of minors

 through their sports.

       203.   Defendant USASF, while knowingly failing to perform their own self-

 regulating functions, which Plaintiffs funded, began fraudulently misrepresenting

 that Defendant Webb’s All-star cheer industry had submitted to the jurisdiction of

 the U.S. SafeSport Center.




                                         56
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 57 of 142 PageID 57




           204.    Defendant USASF took multiple affirmative steps to misrepresent

 that it was affiliated with the U.S. Center for SafeSport on its website, which this

 Complaint alleges was owned and maintained, at least for a time, by Varsity.

           205.    In December of 2019, almost a year after the SafeSport Act became

 law, the Defendants, rather than submitting cheerleading to the authority of

 SafeSport’s oversight and reporting requirements, continued to oversee

 themselves.17

           206.    However, in January of 2019, Defendant USASF began linking to the

 U.S. Center for SafeSport on its website, going so far as to use the Safesport logo.18

           207.    By May 31, 2019, Defendant USASF had added a “SafeSport” tab to

 its website, but the information under it was still only USASF’s former internal

 athlete protection resource.19

           208.    As of November 20, 2020, Defendant USASF was still including a

 “SafeSport” tab on its website, but suddenly stopped linking to the U.S. Center for

 SafeSport.20




 17   https://web.archive.org/web/20181202034012/http://usasf.net/home/
 18

 https://web.archive.org/web/20190120173539/http://www.usasf.net/programs/resources/athleteprotection/
 19 https://web.archive.org/web/20190531215354/http://www.usasf.net/safesport/about/

 20 https://web.archive.org/web/20201130044317/https://www.usasf.net/



                                                     57
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 58 of 142 PageID 58




           209.    Then, in early December of 2020, around the time Defendant Webb

 left Varsity, Defendant USASF changed the tab to “Safe Sport” (with a space) on

 its site.21

           210.    To this day, neither Defendant USASF nor the Varsity Defendants has

 ever actually participated with the U.S. Center for SafeSport program.

           211.    Around this same time, Defendant USASF also created the “Triple A”

 challenge as part of its response to the SafeSport Act, but in so doing, effectively

 shifted responsibility for reporting abuse and exploitation from the corporate

 entities empowered to oversee the sport onto minors and their families telling

 athletes they should consider their appearance and how they present themselves,

 and when posting photos to social media, they should first ask themselves: “Is it

 Athletic? Is it Age Appropriate? What does it Amplify?” The Varsity Defendants

 asked for “thoughtful” social media posts to be hash-tagged with “#ThisIsAllStar

 and “#usasfATHLETES1st” as part of their safety plan.

           212.    Meanwhile, Defendant USASF continued to fail to follow its own

 procedures with respect to rampant reports of child sexual abuse, allowing




 21   https://web.archive.org/web/20201228081625/https://www.usasf.net/

                                                     58
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 59 of 142 PageID 59




 complaints to stall or delaying action when their policies clearly call for an adult

 member to be suspended or banned.

         213.    Jim Lord, Defendant USA Cheer’s director of education and

 programs, said in 2020 that the organization’s banned list is one of the tools they

 use to keep athletes safe. The manner in which this oversight was performed,

 according to Lord, was that he had it on his “weekly checklist” to visit search

 engines and use terms like “cheer coach”, “athlete abuse”, and “sexual assault” to

 find people to ban22. Between June and September that year, Lord had identified

 five (5) names.

         214.    Investigative reporters with USA Today managed to find 180 people

 during that same time frame. More than 140 of those had been convicted of a child

 sex crime and more than half of those were registered sex offenders.

         215.    Also in 2020, W. Scott Lewis, partner at legal and risk management

 firm TNG, criticized Defendant USASF’s handling of reports and complaints in

 that they often sat on their hands and did nothing, assuming law enforcement had

 been contacted by someone else. He said it was not typical for organizations to




  It is telling of the problem that Lord used words related to sexual abuse when looking for coaches, gym
 22

 owners, and affiliates who violated USASF policy. This very specific search criteria demonstrates that
 USASF understood the risks of harm inherent to the sport.

                                                   59
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 60 of 142 PageID 60




 wait for law enforcement action before taking their own action unless they’ve

 explicitly been asked to do so. He said, “You don't want to be on the sideline

 saying, ‘Well, we can't do anything because law enforcement's doing it,’” Lewis

 said. “You want them to have the ability to engage in interim measures or your

 own investigation, or both.” In May of 2021, Defendant USASF hired TNG to

 consult on its athlete safety practices.

       216.   Well after the very public arrest of Jerry Harris, Defendants USASF

 and USA Cheer finally began offering risk and safety training to member gyms

 and personnel.

       217.   However, instead of mandating this risk and safety training for all

 members, and providing training free of charge, the Varsity Defendants require

 members to pay an additional fee to access Defendant USASF and Defendant USA

 Cheer’s safety training.

       218.   Defendant USASF also began “requiring” that all member programs

 “have clear, written guidelines that prohibit adults who have contact with minors

 from engaging in conduct that is either inappropriate and/or illegal.”




                                            60
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 61 of 142 PageID 61




        219.    Defendant USASF failed however, to provide oversight on reviewing

 or approving those policies, or even verifying gyms had, in fact, enacted

 guidelines.

        220.    Defendant USASF has previously stated that it does not have the

 ability to enforce its own policies and procedures, referring to these as

 “recommendations” rather than requirements.23

        221.    Eventually,      Defendant        USASF       created     an    online     reporting

 mechanism for receiving complaints. Experts have raised concerns over the

 burden of this reporting process. When printed, the required forms are over 15

 pages long.

        222.    Moreover, the victim must cite to the alleged rule or regulation their

 attacker violated, requiring them to study codes in various places on the website

 from a slew of different sources in order to make a valid report. By so doing,

 Defendant USASF shifted its mandatory duties to investigate and report child

 abuse to the victim and their family, and adding an unnecessary layer of

 complexity in the process of reporting a predator.




 23See “Varsity Brands Owns Cheerleading and Fights to Keep it From Becoming an Official Sport,” Leif
 Regstad, Houston Press (Jul. 21, 2015) available at: https://www.houstonpress.com/news/varsity-brands-
 owns-cheerleading-and-fights-to-keep-it-from-becoming-an-official-sport-7606297.

                                                  61
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 62 of 142 PageID 62




       223.   The cumbersome nature of the reporting process, coupled with the

 fear many kids feel in coming forward against coaches and gym owners who

 would not immediately be ousted, as Defendant Kristianson bragged to one of his

 victims in this case, effectively chilled reporting.

       224.   Kelli Hughes, the director of the Center for Child Policy, asserted she

 found Defendant USASF’s reporting process to be unnecessarily complicated and

 burdensome.

       225.   For the 2021 Worlds at Disney World in Florida held in May of 2021,

 Defendant USASF sent out an information packet which contained athlete conduct

 rules but did not address coach conduct. The policy mandated a ratio of one (1)

 adult chaperone, defined as anyone 21 years of age or older, for every nine (9) child

 athletes.


       226.   In an October 2021 hearing before the Federal Trade Commission,

 David Owens, the director of events for Open Championship Series, another

 private All-star company, told regulators that the power the Varsity Defendants




                                           62
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 63 of 142 PageID 63




 hold over USASF and USA Cheer presented an “immediate threat to the health,

 well-being, and safety of the children and the sport.”24

         227.    Webinars on athlete safety listed at the site in November 2021

 included topics like “tumbling drills”, “coed stunting”, “building transitions”,

 “choreography”, “twisting skills theory”, and “flyer stability and flexibility”.

 Conspicuously absent at this crucial time was any training on preventing or

 reporting child sexual abuse or molestation.

         228.    Defendant USASF has repeatedly disseminated public messages

 about its role in ensuring athlete safety and protection, for instance:

                 A.      On August 23, 2022, USASF posted: “From requiring

                         background screenings for adults in All-star to creating and

                         enforcing       safety     standards       at    all   USASF        Sanctioned

                         competitions and developing tools for clubs to train young

                         athletes, the highest priority for the USASF is the safety and

                         protection of athletes in All Star.”




 24See “Accused Cheer Monopolist Varsity Squares Off Against Ex-Employees,” Daniel Libit, Sportico
 (October 13, 2021), available at: http://sportico.com/leagues/other-sports/2021/accused-monopolist-varsity-
 spirit-1234643664/.

                                                     63
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 64 of 142 PageID 64




              B.   On August 13, 2022, USASF posted: “Our athletes deserve our

                   best and everything the USASF does is to help them succeed.

                   Setting the highest standards for coaches and helping them stay

                   at the top of our sport is crucial for that success. That’s why

                   more than 7,000 coaches are credentialed each year to

                   demonstrate their abilities to coach All Star. Additionally, the

                   USASF coaches must complete background checks and athlete

                   protection training as basic membership requirements.”

       229.   These repeated and continuous messages about athlete protection

 from Defendant USASF, at a time when Defendant USASF knew or should have

 known it was offering no such protective measures, created a heightened risk

 because abusers like Defendant Kristianson became emboldened to continue

 sexual conduct with minors confident in the knowledge that Defendants USASF

 and USA Cheer took no action against them even in the face of reports of abuse.

       230.   Moreover, the “USASF sanctioned events” referred to throughout

 these near-daily messages were all events created by the Varsity Defendants, and

 the gyms and coaches Defendant USASF promoted as safe were all affiliated with

 and in direct relationships with the Varsity Defendants.



                                         64
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 65 of 142 PageID 65




       231.   The messages and representations about how athlete safety and

 protection were paramount to the Varsity network experience were created and

 promulgated under the guidance and instruction of Defendants Bain Capital and

 Charlesbank, both of whom expanded the Varsity network’s reach by billions of

 dollars.

       232.   In short, the PE Defendants, the Varsity Defendants, and Defendants

 USASF and USA Cheer have created an elaborate illusion of a safe system in order

 to draw more members in so they could sell more merchandise and collect more

 fees for events and camps, knowing their young vulnerable members were at risk

 and that they were doing nothing about removing the criminal coaches, affiliates,

 gym owners, and administrators creating that risk.


                         The Champion Elite Legacy Gym


       233.   Defendant Champion Elite was a private cheer, dance, and tumbling

 gym offering its services to children as well as adults in Florida.

       234.   Defendant Champion Elite was owned by and operated by Defendant

 Ashley Hughes.

       235.   Defendant Champion Elite was a highly awarded and profitable

 program within the Varsity Defendants’ community.


                                          65
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 66 of 142 PageID 66




       236.   Defendant Champion Elite was certified by Defendant USASF as

 meeting All-star standards with respect to coach credentials, program quality, and

 athlete safety.

       237.   As such, the Varsity Defendants warranted to athletes and families

 that Defendant Champion Elite and its owners and coaches, employees, and adult

 athletes, including Defendant Kristianson, could be trusted with minor children

 while training for and attending Varsity events.

       238.   Defendant Kristianson was an employee of Defendant Champion

 Elite, working on behalf of Defendant Champion Elite and in the course and scope

 of his employment.

       239.   As a condition of employing Defendant Kristianson, Defendant

 Champion Elite required Defendant Kristianson to become a coaching member of

 Defendant USASF.

       240.   Moreover, Defendant Champion Elite represented that Defendant

 Kristianson was a credentialed member of USASF, adhering to Defendant

 USASF’s policies and procedures protecting minors, including Jane Does 1, 2, and

 3, from physical, sexual, and mental abuse.




                                         66
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 67 of 142 PageID 67




       241.   Defendant Champion Elite authorized, allowed, and represented that

 Defendant Kristianson was qualified to serve as a coach and mentor for minor

 athletes, including Plaintiffs, and thus provided Defendant Kristianson wide

 access to said minor.

       242.   Defendant Champion Elite represented that Defendant Kristianson

 was credentialed and therefore a member of Defendant USASF’s and the Varsity

 Defendants’ authorized All-star community.

       243.   Defendant USASF and the Varsity Defendants knew, or had reason to

 know, that Defendant Kristianson was in contact with minor athletes, including

 Plaintiffs Jane Doe 1, Jane Doe 2, and Jane Doe 3, and expressly and repeatedly

 authorized this contact.

       244.   In fact, because Plaintiffs were members of Defendant USASF and

 were participants in and consumers of the Varsity network, Defendants not only

 knew of Plaintiffs’ memberships, but also had the ability to know the approximate

 revenue each of them represented to the network.

       245.   Defendants Hughes and Kristianson were also members of Defendant

 USA Cheer.




                                        67
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 68 of 142 PageID 68




       246.   Defendant Kristianson was a coach, mentor, and authorized

 representative of Defendants Champion Elite, USASF, and the Varsity Defendants,

 responsible for training and interacting with minor children, including Plaintiffs.

       247.   Defendants Champion Elite, USASF, and the Varsity Defendants put

 Defendant Kristianson in a position of particular trust, and represented to the

 cheer community, including Plaintiffs, that he was safe to provide coaching

 services to minor athletes.

       248.   However, Defendant Kristianson posed a known danger to minor

 athletes including Plaintiffs including risks of sexual harassment, exploitation, and

 abuse. Moreover, other members of Defendant Champion Elite’s organization

 knew or had reason to know of the abuse perpetrated upon Plaintiffs by Defendant

 Kristianson and did nothing.

       249.   Defendant Champion Elite remained in lock step with the Varsity

 Defendants, competing at the Varsity Defendants’ events, purchasing the Varsity

 Defendants’ merchandise, participating in the Varsity University training

 conferences, and mandating that Defendant Champion Elite’s athletes become

 members of Defendant USASF, including paying USASF annual dues.




                                          68
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 69 of 142 PageID 69




       250.   All the while, Defendant Champion Elite was receiving financial

 incentives from the Varsity Defendants and PE Defendants for doing so.

       251.   Even today, Defendant USASF has only temporarily suspended

 Defendant Kristianson, and no action seems to have been taken against Defendant

 Champion Elite or Defendant Hughes.

       252.   Meanwhile, the Varsity Defendants, Defendant USASF, Defendant

 USA Cheer, and, by virtue of their acquisition, ownership, and control, the PE

 Defendants, knew or should have known of the abuse being perpetrated by their

 credentialed coaches such as Defendant Kristianson.


                                  The Enterprise


       253.   Plaintiffs reallege the factual recitations from the preceding

 paragraphs as though repeated verbatim herein.

       254.   The unlawful acts alleged against Defendant Champion Elite,

 Defendant Hughes, and Defendant Kristianson, who coached, choreographed,

 and perpetrated abuse upon minor athletes were authorized, ordered, or

 performed by their officers, agents, employees, representatives, or shareholders

 while actively engaged in the management, direction or control of their own

 business or affairs and those of other Defendants.


                                         69
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 70 of 142 PageID 70




       255.    The alleged unlawful acts likewise performed and facilitated by, or

 aided and abetted by, the Varsity Defendants, Defendant USASF, and Defendant

 USA Cheer, and the PE Defendants, were authorized, ordered, or performed by

 their officers, agents, employees, representatives, or shareholders while actively

 engaged in the management, direction or control of their own business or affairs

 and those of other Defendants.

       256.    Plaintiffs allege Defendant Jeff Webb had a very personal role in

 decision-making and directing of the affairs of the entire Varsity network,

 including its rulemaking bodies.

       257.    Defendants’   officers,   agents,   employees,   representatives,   or

 shareholders operated under the explicit and apparent authority of their

 principals.

       258.    Each Defendant, and any respective subsidiaries, affiliates and agents

 operated as a single unified entity with the common goal of taking billions of

 dollars from minor athletes by selling a specific promise of a safe competitive

 private cheer world, overseen and administered by Defendants,. At all times

 relevant to this Complaint, these Defendants, and each of them, knew this promise

 of a uniquely safe sport was false and that Plaintiffs were in fact in jeopardy of



                                           70
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 71 of 142 PageID 71




 being sexually and physically harassed and abused. Defendants’ Enterprise

 functioned as a continuing unit throughout the conspiracy and continues its

 operation through the filing of this Complaint.

       259.   Defendants possessed and continue to possess an ongoing

 organizational structure with sufficient continuity related to the Enterprise either

 on an ad hoc or formal basis.

       260.   Each Defendant participated in the operation and management of the

 Enterprise by, among other actions, promoting the Varsity network as uniquely

 safe for minor athletes, empowering governing bodies, inundating athletes with

 messages about safety, misleading athletes about the connection between the

 Varsity network, and the U.S. Center for Safe Sport, promoting the use of

 credentialing, certification, and the Unified Ineligibility List, restricting athlete

 movement, and requiring athletes to travel in pre-determined manners selected by

 the Varsity and PE Defendants, among other particulars.

       261.   The Enterprise is separate and distinct from the pattern of

 racketeering activity as set forth below.

       262.   Whenever in this Complaint reference is made to any act, deed, or

 transaction of any organization, the allegation means that the Defendants and each



                                             71
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 72 of 142 PageID 72




 of them engaged in the act, deed, or transaction by or through their officers,

 directors, agents, employees, or representatives while they were actively engaged

 in the management, direction, control, or transaction of the organization’s business

 or affairs.

        263.   Individuals alleged to have engaged in misconduct in violation of the

 laws pleaded herein are alleged to have done so on behalf of all members of the

 Enterprise between the Varsity Defendants, Defendant USASF, Defendant USA

 Cheer, the PE Defendants, Defendant Champion Elite, Defendant Hughes, and

 Defendant Kristianson.

        264.   The athletes who paid to enter the competition cheer world did not

 know or did not distinguish between the corporate affiliations of different

 individuals. These organizations all affirmatively and collectively represent

 themselves as one All-star family, rather than separate parents and subsidiaries.

        265.   Defendants’ unlawful conduct as alleged herein has taken place in

 and affected the continuous flow of interstate commerce in the United States

 through the certification of private gyms and their coaches, as well as the

 organizing, promoting, and managing of gyms, certifications, and cheer




                                          72
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 73 of 142 PageID 73




 competitions throughout the United States, and the sale of memberships that

 guaranteed the safety of children.

       266.   During its ownership period from 2014-2018, Defendant Charlesbank

 conspired with the Varsity Defendants, Defendant USASF, and Defendant USA

 Cheer to solicit young athletes throughout the United States into the Varsity

 network with the promise of a safe and superior coaching experience by joining a

 certified gym.

       267.   Defendant Charlesbank provided funding to market these programs

 for the Varsity Defendants and obtained financial rewards from having done so.

       268.   When Defendant Charlesbank sold to Defendant Bain Capital in 2018,

 rather than walk away from the Enterprise, Defendant Charlesbank made the

 conscious business decision to reinvest and retain an ownership interest in the

 Varsity Defendants to continue reaping the financial benefits of Varsity’s business

 with Defendants Champion Elite, Hughes, and Kristianson.

       269.   Once ownership transferred to Defendant Bain Capital in 2018,

 Defendant Bain Capital conspired with the Varsity Defendants, Defendant USASF,

 and Defendant USA Cheer to solicit young athletes throughout the United States

 into the Varsity universe of competitive cheer with the promise of a safe and



                                         73
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 74 of 142 PageID 74




 superior coaching experience by USASF and USA Cheer certified gyms, coaches,

 and instructors.

       270.   Defendant Bain Capital has provided funding to market these

 programs for the Varsity Defendants and obtained financial rewards from having

 done so through Varsity, USASF, and USA Cheer’s business Enterprise with

 Defendant Champion Elite and continues to do so as set forth herein.

       271.   All Enterprise Defendants were co-conspirators in a scheme to get as

 many families as possible to entrust their child athletes to these private gyms and

 coaches in order to generate massive revenue from these athletes, all while these

 Defendants were collectively:

       (a) Fraudulently misrepresenting that the Varsity network was the “gold

          standard” in athlete safety;

       (b) failing to properly vet the coaches through adequate background checks;

       (c) failing to provide sufficient oversight and monitoring of the member

          gyms;

       (b) failing to properly investigate complaints of inappropriate and criminal

       sexual conduct by the coaches against minors;




                                         74
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 75 of 142 PageID 75




         (c) failing to report complaints of inappropriate and criminal sexual conduct

         against minors;25

         (d) failing to enforce rules and regulations for chaperoning and supervision

         of minors;26

         (e) failing to enforce ineligibility due to complaints regarding athlete

         safety;27

         (f) facilitating the transfer of minor athletes across state lines for the purpose

         of or with a reckless disregard for whether the athletes would be subjected

         to sexual and/or physical abuse;28

         (g) facilitating the transfer of minor athletes across state lines for the purpose

         of or with a reckless disregard for whether the minors would be served

         drugs and alcohol by other affiliated adults;




 25 (see USASF Terms and Conditions of Coach Membership);
 26 See “Sex Offender allegedly skirted ban to continue coaching cheerleaders,” Jesse O’Neil, January 11,
 2021, NYPost, available at: https://nypost.com/2021/01/11/sex-offender-allegedly-skirted-ban-to-continue-
 coaching-cheerleaders/; see also “Accused Cheer Monopolist Varsity Squares Off Against Ex-Employees,”
 Daniel Libit, Sportico (Oct. 13, 2021) (Commenting before the Federal Trade Commission during an open
 meeting, David Owens, available at: https://www.sportico.com/leagues/other-sports/2021/accused-
 monopolist-varsity-spirit-1234643664/.
 27 See “Cheerleading’s Ban List Skips 74 Sex Offenders,” Marisa Kwiatkowski & Tricia L. Nadolny, Sep. 22,

 2020 USAToday.
 28   See United States v. Jeremiah Harris, C/A No. 20-CR-637, Plea Agreement available at:
 https://www.justice.gov/d9/press-releases/attachments/2022/02/10/harris_plea_agreement_0.pdf

                                                    75
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 76 of 142 PageID 76




      (h) gathering at predetermined locations to discuss and exchange notes and

      information related to the Enterprise including how to lure additional minor

      athletes and how to maximize profits;

      (i) sending and collecting bills and invoices across the mails and wires

      despite the fraud perpetrated by Defendants;

      (j) using Defendant Champion Elite’s platform to obtain access to significant

      financial resources of Plaintiff and other member-athletes, both for annual

      invoices and fees, as well as for merchandise, both mandatory and

      otherwise;

      (k) disseminating fraudulent misrepresentations through mail and wire as

      to the safety Defendants guaranteed through a sham certification process;

      (l) collecting money from minor athletes related to the above referenced

      scheme;

      (m) requiring memberships of all minor athletes competing on behalf of

      member gyms, which, in part, allowed Defendants to track and monitor the

      number of minor athletes under their care;

      (n) creating the “stay-to-play” system whereby Defendants mandated

      member gyms bring their minor athletes across state lines to competitions



                                        76
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 77 of 142 PageID 77




      and stay only at pre-selected hotels registered through them to allow

      Defendants to track these athletes and exercise control over their physical

      locations;

      (o) disseminating fraudulent misrepresentations about Defendants’ gym

      and coach certification process through the mails and wires so as to

      perpetuate the image of a safe environment for minor athletes;

      (p) promoting certain coaches and athletes on social media who Defendants

      knew or should have known had engaged in illicit, predatory behavior and

      sexual misconduct with minors, all while authorizing these same

      individuals to sell goods for Defendants on Defendants’ platforms, or with

      Defendants’ endorsements;

      (q) mandating annual membership in Defendant USASF by athletes,

      member coaches, and clubs creating a conflict wherein the USASF received

      monetary benefits from certified coaches who USASF was also obligated to

      investigate for misconduct;

      (r) prohibiting athletes from transferring out of certain gyms so as to chill

      reporting and control competition;

      (s) chilling athletes from coming forward with allegations by promising that



                                        77
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 78 of 142 PageID 78




         athletes who stayed in the system might achieve additional goals including

         collegiate opportunities;

         (t) creating marketing materials and personas specifically intended to target

         and attract young children to the sport, including by using certain color

         schemes, wording, and imagery (e.g. Varsity All-star Instagram page,

         Varsity Spirit Instagram Page);

         (u) failing to employ reasonable policies, procedures, guidelines and

         safeguards consistent with the purported “standard of care” Defendants

         have represented in their materials;29

         (v) failing to properly staff, fund, resource, train, and otherwise enable the

         implementation of the instruments by which Defendants promised to police

         and govern the sport;30 and

         (w) interfering by the Varsity Defendants with the safety and regulatory




 29 See September 18, 2020 article in the USA Today, and commenting on the arrangement between
 Defendants USASF and Varsity Spirit. In the article, former Risk Management Center staffer John Patterson
 says that “Whatever Varsity wants, Varsity gets [from USASF].”
 30 See Commentary from Ginger Wilczak, former USASF Safesport Manager and part-time contract

 employee on the perpetual understaffing and lack of resources in USASF’s office tasked with investigating
 reports of misconduct, “A huge slap in the face’: Frustrations Grow Over Cheerleading’s mishandled sexual
 misconduct cases,” Tricia L. Nadolny, Marisa Kwiatkowski, USA Today (Dec. 23, 2020), available at:
 https://www.usatoday.com/in-depth/news/2020/12/23/cheerleading-cheer-sexual-misconduct-complaints-
 usasf/6484248002/

                                                    78
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 79 of 142 PageID 79




         operations of Defendants USA Cheer and USASF;31

                                              The Abuse

                                               Jane Doe 1

         272.    Plaintiff Jane Doe 1 began cheering when she was around 11 years

 old.

         273.    At the time she began her cheer career, Plaintiff Jane Doe 1 cheered at

 Defendant Champion Elite Legacy, an all-star cheer and tumbling gym in South

 Daytona Beach, Florida.

         274.    At all times relevant to this complaint, Plaintiff Jane Doe 1 was a

 member of USASF and paid her dues annually.

         275.    At all times relevant to this complaint, Defendant Champion Elite was

 owned by Defendant Dr. Ashley Hughes, a chiropractor, and managed by

 Defendant Erick Kristianson, a 43-year-old man who also coached at the gym.

         276.    Plaintiff Mary Doe and Plaintiff Jane Doe 1 met Defendant

 Kristianson in or around 2019 when he joined the coaching staff at Champion Elite.




 31See “Cheerleading Antitrust suit spurs brawl over ex exec’s documents,” Daniel Libit, Sportico (Jan. 12,
 2022)     (available    at:    https://www.sportico.com/law/news/2022/varsity-spirits-antitrust-accusers-
 1234658119/). In the article, ex-Varsity executive Marlene Cota bluntly states her impression that Varsity
 placed its brand over the safety of athletes. Cota was also featured in an episode of HBO’s Real Sports.

                                                    79
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 80 of 142 PageID 80




       277.      Over the next several months, Defendant Kristianson introduced his

 mother to Plaintiff Mary Doe, Plaintiff Jane Doe 1, and their family and shared

 details about his religious upbringing.

       278.      Knowing that Plaintiff Mary Doe, her husband and children

 described themselves as a faith-based family, Defendant Kristianson took great

 care to emphasize his lifelong connections to religious organizations and his

 religious upbringing. This commonality helped Defendant Kristianson form a

 swift and meaningful bond with Plaintiff Mary Doe, Plaintiff Jane Doe 1, and their

 family.

       279.      Beginning in or around 2020, Plaintiff Mary Doe and her family began

 to see Defendant Kristianson in social settings outside of the gym. Over time,

 Plaintiff Mary Doe and her family, including her minor daughter, Plaintiff Jane

 Doe 1, grew to love and trust Defendant Kristianson, welcoming him as part of

 their family.

       280.      Plaintiff Mary Doe noticed that other parents at the gym similarly

 trusted and cared for Defendant Kristianson. Several families relied on Defendant

 Kristianson to transport their children to and from cheer, and some families even

 included him in their social gatherings and events.



                                           80
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 81 of 142 PageID 81




       281.   Defendant Kristianson would often transport Plaintiff Jane Doe 1 and

 her sister to and from cheer practices and other cheer competition events.

       282.   Defendant Kristianson accompanied Plaintiff Mary Doe, her

 husband, and children (including Plaintiff Jane Doe 1) on several weekend trips,

 including trips to Tampa, Universal Studios, and Busch Gardens. By all accounts,

 Defendant Kristianson became like family to Plaintiff Mary Doe, her husband and

 children.

       283.   In or around 2022, Defendant Kristianson notified Plaintiff Mary Doe

 that he needed a place to stay. Plaintiff Mary Doe offered for Defendant

 Kristianson to temporarily move into a detached apartment on her property.

       284.   During this time, Defendant Kristianson continued to transport

 Plaintiff Jane Doe 1 and her sister to cheer practices and continued to accompany

 the family on trips and to events. In or around March of 2022, Plaintiff Mary Doe

 allowed Plaintiff Jane Doe 1 and her sister to travel with Defendant Kristianson to

 the home of another cheer coach in South Carolina.

       285.   Around the same time, Plaintiff Mary Doe observed special attention

 Defendant Kristianson was paying to her daughter, Plaintiff Jane Doe 1,

 complimenting her skill and offering additional tumbling classes.



                                         81
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 82 of 142 PageID 82




       286.   Plaintiff Mary Doe also noticed a rift between Plaintiff Jane Doe 1 and

 Plaintiff Mary Doe’s other daughter, Plaintiff Jane Doe 1’s sister.

       287.   Around this time, Plaintiff Mary Doe noticed a change in her

 daughter’s dress, mood, and overall demeanor. Despite the warm Florida climate,

 Plaintiff Jane Doe 1 would only wear baggy, oversized sweatpants and

 sweatshirts. Plaintiff Jane Doe 1, who was normally outgoing and upbeat, was

 suddenly aloof, reclusive, and behaving strangely.

       288.   In late June or early July of 2022, Mary Doe asked Plaintiff Jane Doe 1

 about what was troubling her. At this time, Plaintiff Jane Doe presented Mary Doe

 with video recordings of Defendant Kristianson engaged in sexually abusive

 behavior with Plaintiff Jane Doe 1 and others.

       289.   Plaintiff Jane Doe 1 told Mary Doe that she created these recordings

 because she feared without solid proof, nobody would believe her if she disclosed

 the abuse.

       290.   One of the videos showed Defendant Kristianson naked in a shower

 stall, masturbating with a small blue massage device while talking to Plaintiff Jane

 Doe 1 and other minor children. During this recording, Defendant Kristianson is




                                          82
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 83 of 142 PageID 83




 heard asking Plaintiff Jane Doe 1and the other minor children to retrieve items for

 him and bring them to him in the shower.

         291.   The second recording was a FaceTime call from Defendant

 Kristianson to Plaintiff Jane Doe 1 and a friend. In the recording, Defendant

 Kristianson is lying nude with his penis exposed to the camera. At several points

 throughout the recording, Defendant Kristianson points the camera towards the

 wall to reveal a shadow image of his erect penis. Defendant Kristianson is seen

 masturbating at several points throughout the video. The video also clearly shows

 in the “caller box” at the top right side of the screen, the faces of Plaintiff Jane Doe

 1 and her minor friend, who are on the receiving end of the call by Defendant

 Kristianson.

         292.   Plaintiff Mary Doe confronted Defendant Kristianson with the video

 recordings, at which time Defendant Kristianson attempted to delete the

 recordings from Plaintiff Mary Doe’s device before leaving Plaintiff Mary Doe’s

 home.

         293.   After Plaintiff Jane Doe 1 disclosed the existence of the videos, she

 also disclosed to Plaintiff Mary Doe that Defendant Erick Kristianson had exposed




                                           83
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 84 of 142 PageID 84




 his penis to her on numerous occasions, and touched her inappropriately while

 stunting, including on her buttocks and upper thigh areas.

        294.   Plaintiff Jane Doe 1 would tell Defendant Kristianson to stop, but he

 would continue to touch her and grab her. Defendant Kristianson would ask Jane

 Doe if she had taken a shower or if she was wearing underwear.

        295.   On one occasion in 2022, Defendant Kristianson instructed Plaintiff

 Jane Doe to retrieve a photo from his printer. When Plaintiff Jane Doe got to

 Defendant Kristianson’s printer, she saw that the photograph Defendant

 Kristianson asked her to retrieve depicted his erect penis.

        296.   Plaintiff Jane Doe 1 and another friend reported to Plaintiff Mary Doe

 that they saw Defendant Kristianson’s penis on multiple occasions at the gym and

 at social events. Upon further questioning by Plaintiff Mary Doe, Plaintiff Jane Doe

 1 and her friend stated that they “always see [Defendant] Erick [Kristianson]’s

 penis” and that Defendant Kristianson is known as “creepy Erick” around the

 gym.

        297.   Only after learning of Defendant Kristianson’s inappropriate sexual

 behavior towards Plaintiff Jane Doe 1 and others did Plaintiff Mary Doe became

 aware that there were complaints made by other parents at Defendant Champion



                                          84
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 85 of 142 PageID 85




 Elite about Defendant Kristiansen going to practice with short shorts and no

 undergarments, exposing his penis to the children.

          298.   Plaintiff Mary Doe further learned that at least one other parent at the

 gym instructed Defendant Hughes to keep Defendant Kristianson away from her

 child.

          299.   Defendant Hughes addressed these complaints with Defendant

 Kristianson by instructing him to wear proper undergarments during practices,

 but did not take any further action to confirm compliance or deter the behavior.

          300.   A former co-owner of Defendant Champion Elite left the gym in part

 over Defendant Hughes’ inaction and mishandling of complaints about Defendant

 Kristianson’s inappropriate sexual behavior with athletes.

          301.   Reports of Defendant Kristianson exposing his penis to underaged

 athletes were made to Florida Department of Children and Families and

 Defendant USASF in October of 2021 and February of 2022, but no action was

 taken.

          302.   In early July of 2022, within one day of Plaintiff Jane Doe 1’s

 disclosure, Mary Doe reported the sexual abuse of her daughter, Plaintiff Jane Doe




                                             85
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 86 of 142 PageID 86




 1 and the sexually explicit videos of Defendant Kristianson to the Daytona Beach

 Police Department.

       303.   On or about July 12, 2022, a warrant was issued for the arrest of

 Defendant Kristianson for the felonies of Lewd and Lascivious Exhibition to a

 victim under the age of sixteen, Lewd and Lascivious Molestation of a person

 under the age of sixteen, Lewd and Lascivious Exhibition via Computer to a

 person under the age of eighteen, and Lewd and Lascivious Molestation of a

 person between the ages of 12-16.

       304.   Defendant Kristianson was arrested in Kansas on August 4, 2022. He

 was extradited to Florida and arraigned on the charges. Bond was set at $300,000

 surety. Defendant Kristianson posted bond and was released on August 5, 2022.

       305.   As of the date of this filing, the criminal cases against Defendant

 Kristianson are pending in the Volusia County Circuit Court.

      306.    During this timeframe, Plaintiff Jane Doe 1 has always been a member

of USASF and has paid her dues annually as well as the other fees required by

Defendant Champion Elite and the Varsity Defendants.

      307.    Plaintiff Jane Doe 1 and Mary Doe reasonably relied on

representations from Defendants that the Varsity network and its certified gyms



                                        86
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 87 of 142 PageID 87




and coaches were uniquely safe because of the Defendant USASF and USA Cheer’s

rigorous vetting.

                                     Jane Doe 2

       308.   Plaintiff Jane Doe 2 began cheering in or around 2019 when she was

 10 years old.

       309.   Plaintiff Jane Doe 2 began cheering at Champion Elite Legacy, an all-

 star cheer and tumbling gym in South Daytona Beach, Florida.

       310.   At all times relevant to this complaint, Plaintiff Jane Doe 2 was a

 member of USASF and paid her dues annually.

       311.   Defendant Champion Elite Legacy was owned by Dr. Ashley Hughes,

 a chiropractor, and managed by Erick Kristianson, a 43-year-old man who also

 coached cheer at the gym.

       312.   Mary Doe and Plaintiff Jane Doe 2 met Defendant Erick Kristianson

 in or around 2019 when he joined the coaching staff at Champion Elite.

       313.   Over the next several months, Defendant Erick Kristianson

 introduced his mother to Mary Doe, Plaintiff Jane Doe 2 and their family and

 shared details about his religious upbringing out of state.




                                         87
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 88 of 142 PageID 88




       314.     Knowing that Mary Doe, her husband and children described

 themselves as a faith-based family, Defendant Erick Kristianson took great care to

 emphasize his lifelong connections to religious organizations and his religious

 upbringing. This commonality helped Defendant Kristianson form a swift and

 meaningful bond with Mary Doe, Plaintiff Jane Doe 2 and their family.

       315.     Beginning in or around 2020, Mary Doe and her family began to see

 Defendant Erick Kristianson in social settings outside of the gym. Over time, Mary

 Doe and her family, including her minor daughter, Plaintiff Jane Doe 2, grew to

 love and trust Defendant Kristianson, welcoming him as part of their family.

       316.     Mary Doe noticed that other parents at the gym trusted and cared for

 Defendant Erick Kristianson. Several of the families relied on Defendant Erick

 Kristianson to transport their children to and from cheer, and several of the

 families also included him in their social gatherings and events. Mary Doe and her

 family, including Plaintiff Jane Doe 2, grew to love and trust Defendant Erick

 Kristianson.

       317.     Defendant Erick Kristianson would often transport Plaintiff Jane Doe

 2 and her sister to and from cheer practices and other cheer competition events.




                                          88
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 89 of 142 PageID 89




       318.   Defendant Erick Kristianson accompanied Mary Doe, her husband,

 and children (including Plaintiff Jane Doe 2) on several weekend trips, including

 trips to Tampa, Universal Studios, and Busch Gardens. By all accounts, Defendant

 Erick Kristianson became like family to Mary Doe, her husband and children.

       319.   In or around 2022, Defendant Erick Kristianson notified Mary Doe

 that he needed a place to stay. Mary Doe offered for Defendant Erick Kristianson

 to temporarily move in to a detached apartment on her property.

       320.   During this time, Defendant Kristianson continued to transport Jane

 Doe 2 and her sister to cheer practices and continued to accompany the family on

 trips and to events. In or around March of 2022, Mary Doe allowed Plaintiff Jane

 Doe 2 and her sister to travel with Defendant Erick Kristianson to the home of

 another cheer coach in South Carolina.

       321.   In or around early 2022, Defendant Erick Kristianson played a “game”

 with Plaintiff Jane Doe 2 that he called, “Jeepers Creepers,” where he would

 discuss sexual content, grope and fondle Plaintiff Jane Doe 2. Defendant Erick

 Kristianson would initiate this “Jeepers Creepers” “game” in the car while Plaintiff

 Jane Doe 2 was riding in the front seat. (Defendant Erick Kristianson would insist

 that Plaintiff Jane Doe 2 ride with him in the front seat as opposed to the back seat



                                          89
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 90 of 142 PageID 90




 of the vehicle). During this “game” Defendant Erick Kristianson would run his

 hands up Plaintiff’s leg and thighs and place his fingers and hands on her vagina.

 Plaintiff Jane Doe 2 was 13 years old at the time.

       322.   Defendant Erick Kristianson kept a vibrator in the front seat of his

 vehicle that he would point out and discuss with Plaintiff Jane Doe 2 and other

 minor children. The existence and purpose of the vibrator was known to Plaintiff

 Jane Doe 2 and others.

       323.   Defendant Erick Kristianson exposed his penis to Plaintiff Jane Doe 2

 on numerous occasions both in and outside of the gym.

       324.   Defendant Erick Kristianson once entered Mary Doe’s home while he

 knew Plaintiff Jane Doe 2 was home alone and fondled Plaintiff Jane Doe 2’s

 breasts.

       325.   In or around late 2021 – early 2022, Defendant Erick Kristianson took

 Plaintiff Jane Doe 2, her sister, and other minors to a hot tub at a local resort. While

 in the hot tub, Defendant Erick Kristianson began to rub Plaintiff Jane Doe 2’s leg.

 Plaintiff Jane Doe 2 told Defendant Erick Kristianson to stop, but he refused and

 instead escalated the assault, moving his hands to her vaginal area. Defendant

 Kristianson continued to grope Plaintiff Jane Doe 2’s private area until she stood



                                           90
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 91 of 142 PageID 91




 up and told one of her friends that she was ready to leave. Defendant Kristianson

 overheard Jane Doe 2’s comments and berated her, claiming that they had just

 arrived and leaving so soon would have rendered the entire trip a waste of time.

       326.   In or around April of 2022, while at the EOC cheer competition in

 Orlando, Florida, Plaintiff Jane Doe 2, who has no history of seizures or a seizure

 disorder, experienced unexplained seizures and was transported three times by

 ambulance to a local hospital for evaluation and treatment. She was hospitalized

 for three days.

       327.   In the summer of 2022, Mary Doe learned of Defendant Erick

 Kristianson’s sexual abuse of her other daughter, including a video call wherein

 Defendant Erick Kristianson exposed his erect penis to two minors. Mary Doe

 reported this incident, along with the abuse of Plaintiff Jane Doe 2 to local law

 enforcement.

       328.   After learning of Defendant Erick Kristianson’s inappropriate sexual

 behavior towards Plaintiff Jane Doe 2 and others, Mary Doe became aware that

 there were complaints made by other parents at Champion Elite about Defendant

 Kristiansen going to practice with short shorts and no undergarments, exposing

 his penis to the children.



                                         91
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 92 of 142 PageID 92




       329.   A former co-owner of Defendant Champion Elite Legacy left the gym

 in part over Ashley Hughes’ inaction and mishandling of complaints about

 Defendant Kristianson’s inappropriate sexual behavior with athletes.

       330.   On or about July 12, 2022, a warrant was issued for the arrest of

 Defendant Kristianson for the felonies of Lewd and Lascivious Exhibition to a

 victim under the age of sixteen, Lewd and Lascivious Molestation of a person

 under the age of sixteen, Lewd and Lascivious Exhibition via Computer to a

 person under the age of eighteen, and Lewd and Lascivious Molestation of a

 person between the ages of 12-16.

       331.   Defendant Kristianson was arrested in Kansas on August 4, 2022. He

 was extradited to Florida and arraigned on the charges. Bond was set at $300,000

 surety. Defendant Kristianson posted bond and was released on August 5, 2022.

       332.   As of the date of this filing, the criminal cases against Defendant

 Kristianson are pending in the Volusia County Circuit Court.

       333.   Another parent at the gym instructed Defendant Ashley Hughes to

 keep Defendant Erick Kristianson away from her child.

       334.   Defendant Ashley Hughes addressed these complaints with

 Defendant Kristianson by instructing him to wear proper undergarments during



                                        92
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 93 of 142 PageID 93




 practices, but did not take any further action to confirm compliance or deter the

 behavior.

          335.   Reports of Defendant Kristianson exposing his penis to underaged

 athletes were made to Florida Department of Children and Families and

 Defendant USASF in October of 2021 and February of 2022, but no action was

 taken.

      336.       Plaintiff Jane Doe 2 has been diagnosed with Conversion Disorder

and continues to experience seizures and other trauma-related symptoms as a

result of Defendant Erick Kristianson’s sexual abuse. She is prescribed medication

and treats with a psychotherapist.

      337.       Plaintiff Jane Doe 2 and Mary Doe reasonably relied on

representations from Defendants that the Varsity network and its certified gyms

and coaches were uniquely safe because of the Defendant USASF and USA Cheer’s

rigorous vetting.

      338.       During this timeframe, Plaintiff Jane Doe 2 has always been a member

of USASF and has paid her dues annually as well as the other fees required by

Defendant Champion Elite and the Varsity Defendants.




                                           93
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 94 of 142 PageID 94




                                      Jane Doe 3

       339.     Plaintiff Jane Doe 3 began cheering in or around 2017 when she was

 8 years old.

       340.     Plaintiff Jane Doe 3 began cheering at Champion Elite Legacy, an all-

 star cheer and tumbling gym in South Daytona Beach, Florida.

       341.     At all times relevant to this complaint, Plaintiff Jane Doe 3 was a

 member of USASF and paid her dues annually.

       342.     Defendant Champion Elite Legacy was owned by Dr. Ashley Hughes,

 a chiropractor, and managed by Erick Kristianson, a 43-year-old man who also

 coached cheer at the gym.

       343.     Joseph Doe and Plaintiff Jane Doe 3 met Defendant Erick Kristianson

 in or around 2019 when he joined the coaching staff at Champion Elite.

       344.     Over the next several months, Defendant Erick Kristianson took a

 special interest in developing a friendship with Joseph Doe, taking great care to

 point out their common interests and hobbies.

       345.     This commonality helped Defendant Kristianson form a bond with

 Joseph Doe and Plaintiff Jane Doe 3. Joseph Doe and Plaintiff Jane Doe 3 grew to

 love and trust Defendant Kristianson.



                                           94
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 95 of 142 PageID 95




       346.   In or around 2022, Defendant Erick Kristianson moved into an

 apartment on the property of one of Plaintiff Jane Doe 3’s friends. Around this

 time, Defendant Kristianson spent a lot of time with Plaintiff Jane Doe 3 and her

 friends, both in and outside of the gym.

       347.   Defendant Erick Kristianson accompanied Jane Doe 3 and others to

 Busch Gardens. During this trip, Defendant Erick Kristianson masturbated in

 Plaintiff Jane Doe 3’s presence, and in the presence of other minor athletes.

       348.   Defendant Erick Kristianson kept a vibrator in his vehicle. Defendant

 Kristianson would point it out to Plaintiff Jane Doe 3 and other minor athletes.

 Upon information and belief, the existence of the vibrator was common

 knowledge to Plaintiff Doe 3, her friends, and other minor athletes at Defendant

 Champion Elite.

       349.   Plaintiff Jane Doe 3 and another friend reported to a parent that they

 saw Defendant Erick Kristianson’s penis at a pool party. Upon further questioning

 by the parent, Plaintiff Jane Doe 3 and her friend stated that they “always see Erick

 [Kristianson]’s penis” and that Defendant Erick Kristianson is known as “creepy

 Erick” around the gym.




                                            95
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 96 of 142 PageID 96




       350.   Defendant Erick Kristianson would occasionally drive Plaintiff Jane

 Doe 3 and friends to events in his vehicle. Defendant Kristianson would insist that

 Plaintiff Jane Doe 3 ride in the front seat next to him. During these drives,

 Defendant Kristianson would grope and fondle her.

       351.   Defendant Erick Kristianson would frequently inappropriately touch

 and hug Plaintiff Jane Doe 3 without her consent.

       352.   On July 10, 2022, in the evening hours, Defendant Erick Kristianson

 reached out to Joseph Doe via text message and asked if he could come over to

 Joseph Doe’s home to speak to him about something.

       353.   Joseph Doe agreed to allow Defendant Kristianson to come over.

 When Defendant Kristianson arrived, he began to speak very quickly and in a

 panicked manner about a FaceTime exchange between Defendant Kristianson and

 Joseph Doe’s daughter, Plaintiff Jane Doe 3, and another minor child. Defendant

 Kristianson told Joseph Doe that he was careless and accidentally exposed his

 genitals to Plaintiff Jane Doe 3. Defendant Kristianson told Joseph Doe that he had

 a recording of the call on his phone and proceeded to show Joseph Doe portions

 of the call, but retained total control of the playback function such that Joseph Doe




                                          96
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 97 of 142 PageID 97




 was unable to view the entire call and unable to ascertain any context of or

 conversation from the call itself.

       354.   During this time, Defendant Kristianson was sweating profusely,

 behaving in a nervous manner and speaking rapidly to Joseph Doe. Defendant

 Kristianson told Joseph Doe that he was worried about his career and reputation

 being damaged as a result of the recording, which Defendant Kristianson

 characterized as being a misunderstanding or an accident.

       355.   When Joseph Doe approached his daughter about the recording,

 Plaintiff Jane Doe 3 informed him that the recording was neither accidental nor a

 misunderstanding, but that she and friend created the recording of Defendant

 Kristianson to show the abuse and make a record of it because they feared that

 without such proof, they would not be believed.

       356.   The recording was a FaceTime call from Erick Kristianson to Plaintiff

 Jane Doe 3 and a friend. In the recording, Defendant Erick Kristianson is seen lying

 nude with his penis exposed to the camera. At several points throughout the

 recording, Defendant Erick Kristianson pointed the camera towards the wall to

 reveal a shadow image of his erect penis. Defendant Erick Kristianson is seen

 masturbating at several points throughout the video. The video also clearly shows



                                         97
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 98 of 142 PageID 98




 in the “caller box” at the top right side of the screen, the faces of Plaintiff Jane Doe

 3 and her minor friend, who are on the receiving end of the call by Defendant Erick

 Kristianson.

       357.     After Plaintiff Jane Doe 3 disclosed the existence of the videos, she

 also reported that Defendant Erick Kristianson had exposed his penis to her on

 numerous occasions, and touched her inappropriately on several occasions,

 including on her breasts and legs.

       358.     Plaintiff Jane Doe 3 would tell Defendant Erick Kristianson to stop,

 but he would continue to fondle her.

       359.     After learning of Defendant Erick Kristianson’s inappropriate sexual

 behavior towards Plaintiff Jane Doe 3 and others, Joseph Doe became aware that

 there were numerous prior complaints made by other parents at Champion Elite

 about Defendant Kristiansen going to practice with short shorts and no

 undergarments, exposing his penis to the children.

       360.     On July 11 2022, Joseph Doe reported the sexual abuse of his

 daughter, and the sexually explicit videos of Defendant Kristianson to the Daytona

 Beach Police Department.




                                           98
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 99 of 142 PageID 99




       361.   On or about July 12, 2022, a warrant was issued for the arrest of

 Defendant Kristianson for the felonies of Lewd and Lascivious Exhibition to a

 victim under the age of sixteen, Lewd and Lascivious Molestation of a person

 under the age of sixteen, Lewd and Lascivious Exhibition via Computer to a

 person under the age of eighteen, and Lewd and Lascivious Molestation of a

 person between the ages of 12-16.

       362.   Defendant Kristianson was arrested in Kansas on August 4, 2022. He

 was extradited to Florida and arraigned on the charges. Bond was set at $300,000

 surety. Defendant Kristianson posted bond and was released on August 5, 2022.

       363.   As of the date of this filing, the criminal cases against Defendant

 Kristianson are pending in the Volusia County Circuit Court.

       364.   Plaintiff Jane Doe 3 and Joseph Doe reasonably relied on

 representations from Defendants that the Varsity network and its certified gyms

 and coaches were uniquely safe because of the Defendant USASF and USA Cheer’s

 rigorous vetting.

       365.   During this timeframe, Plaintiff Jane Doe 3 has always been a member

 of USASF and has paid her dues annually as well as the other fees required by

 Defendant Champion Elite and the Varsity Defendants.



                                        99
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 100 of 142 PageID 100




                             JOINT AND SEVERAL LIABILITY

        366.    Defendants are jointly and severally liable for the damages and

  injuries sustained by Plaintiffs, as Defendants’ individual and collective actions

  and omissions actually and proximately caused Plaintiff’s past, present, and

  ongoing injuries. Plaintiff is entitled to damages pursuant to the laws of the State

  of Florida and the United States of America, including but not limited to the

  following:

           a. Compensatory, actual, and consequential damages;

           b. Statutory damages;

           c. Punitive damages;

           d. Reasonable attorneys’ fees and costs;

           e. Any and all other and further relief as this Court may deem

                appropriate including pre and post judgment interest.


                                     THE COUNTS

                                 COUNT I
               VIOLATION OF THE PROTECTING YOUNG VICTIMS
                   FROM SEXUAL ABUSE ACT, 18 U.S.C. §2255
                            (ALL DEFENDANTS)

        367.    Plaintiffs hereby reallege the factual recitations in the paragraphs 1-

  366 as if repeated verbatim herein.

                                           100
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 101 of 142 PageID 101




        368.   This claim is brought against all Defendants, with the specific acts

  complained of performed against minors by Defendants Champion Elite, Hughes

  and Kristianson and enabled, aided and abetted, and assisted by the Varsity

  Defendants, Defendant USASF, Defendant USA Cheer, and the PE Defendants

  through a variety of acts including certification, promotion, and credentialing, and

  continued access.

        369.   Under the statute, a covered individual means an adult who is

  authorized by a national governing body, a member of a national governing body,

  or an amateur sports organization that participates in interstate or international

  amateur athletic competition, to interact with a minor or amateur athlete at an

  amateur sports organization facility or at any event sanctioned by a national

  governing body, a member of a national governing body, or such an amateur

  sports organization.

        370.   Under the statute, the term “event” includes travel, lodging, practice,

  competition, and medical treatment.

        371.   Defendants Champion Elite, Hughes, and Kristianson, qualify as

  covered individuals and the facts of this case bear out that abuse occurred at events

  defined by the statute.



                                          101
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 102 of 142 PageID 102




        372.   Defendant Champion Elite and Defendant Hughes were held out by

  the Varsity Defendants, Defendant USASF, Defendant USA Cheer, Defendant

  Charlesbank, and Defendant Bain Capital as being duly vetted members of a

  network marketed as safe and trustworthy for work with children, a certification

  for which Plaintiffs paid.

        373.   In making these representations as a marketing tool and revenue

  source, but then failing to provide the service or abide by their own rules, the

  Varsity Defendants, Defendant USASF, Defendant USA Cheer, Defendant

  Charlesbank, and Defendant Bain Capital aided and abetted the abusive conduct

  toward the minors by the covered individuals described above.

        374.   Plaintiffs were minors at the time she was sexually abused and

  assaulted in contravention of 18 U.S.C § 2422, thus constituting violations of 18

  U.S.C. §2255.

        375.   Plaintiffs have suffered personal injuries as a result of these particular

  violations of law.

        376.   Plaintiffs are entitled to damages pursuant to the laws of United

  States of America, including but not limited to the following:




                                           102
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 103 of 142 PageID 103




           a. Compensatory, actual, and consequential damages, or, in the

               alternative, liquidated damages in the amount of $150,000;

           b. Reasonable attorneys’ fees and costs;

           c. Punitive damages; and

           d. Any and all other and further relief as this Court may deem

               appropriate including pre and post judgment interest.


                                   COUNT II
              FOR CIVIL CONSPIRACY IN VIOLATION OF THE RICO ACT
                  PURSUANT TO 18 U.S.C. §1962(c) and §1962(d)
                              (ALL DEFENDANTS)
       377.    Plaintiffs hereby reallege the factual recitations contained in

  paragraphs 1-366 as if repeated verbatim herein.

       378.    This count is brought against all Defendants.

       379.    United States law makes it “unlawful for any person employed by or

  associated with any enterprise engaged in, or the activities of which affect,

  interstate or foreign commerce, to conduct or participate, directly or indirectly, in

  the conduct of such enterprise’s affairs through a pattern of racketeering

  activity…” 18 U.S.C. §1962(c).




                                          103
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 104 of 142 PageID 104




         380.      Each Defendant, at all relevant times, is and has been a “person”

  within the meaning of 18 U.S.C. § 1961(3) because each of them is capable of

  holding, and does hold, “a legal or beneficial interest in property.”

         381.      Defendants’ activities include at least two (2) acts of racketeering

  activity as described above and herein since at least 2003. Accordingly,

  Defendants’ conduct constitutes a pattern of racketeering activity. 18 U.S.C. §

  1961(5).

         382.      The racketeering activity is set forth in paragraphs 1-365_ and

  includes violations of 18 U.S.C. §§ 1341 (mail fraud), 1343 (wire fraud) 32 and 18

  U.S.C § and 2422, (sexual exploitation of minors).

         383.      In or around 2002, the Varsity Defendants, Defendant USASF,

  Defendant Champion Elite and Defendant Hughes formed an association-in-fact

  Enterprise within the meaning of 18 U.S.C. § 1961(4).

         384.      Defendant Charlesbank and Defendant Bain Capital agreed to join

  and facilitate this Enterprise with massive investments funding its ongoing




  32As referred to herein, the following paragraphs set forth factual allegations that constitute mail fraud
  and/or wire fraud: 66, 68, 69, 78, 86, 93, 94, 99, 104, 106, 107, 108, 109, 110, 117, 118, 138, 140, 143, 145, 152,
  153, 155, 162, 164, 170, 196, 199, 204-209, 211, 213, 218, 228(a)-(b).


                                                         104
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 105 of 142 PageID 105




  operation in order to obtain significant financial benefits for their investors worth

  billions of dollars.

        385.    This Enterprise, as previously described in this Complaint, and more

  specifically detailed in paragraphs 246-264, consists of a group of persons

  associated together for the common purpose of recklessly, intentionally, and

  willfully endangering the Plaintiffs as minor athletes by exposing them to illegal

  sexual abuse and exploitation while continuously and repeatedly taking money

  from them in exchange for assurances of safety which were being fraudulently

  misrepresented by the Enterprise.

        386.    Each Defendant, in concert with the Enterprise, engaged in

  misleading and fraudulent messaging to children and their families which they

  knew or should have known endangered children who were not in a position to

  discover the danger since Defendants were concealing the danger and failing to

  report it, acting in reckless indifference to the safety of the children in the name of

  growing profits.

        387.    In 2014, Defendant Charlesbank funded the purpose of this

  Enterprise.




                                           105
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 106 of 142 PageID 106




        388.    In 2018, Defendants Bain Capital took over a role in funding the

  purpose of this Enterprise in place of Defendant Charlesbank.

        389.    The Varsity Defendants, Defendant USASF, Defendant USA Cheer,

  and the Defendants Champion Elite and Hughes acted in concert to commit the

  predicate acts of mail fraud and wire fraud as set forth in the preceding

  paragraphs.

        390.    The funding, materials, and premises provided by the Varsity

  Defendants, Defendant Charlesbank, and Defendant Bain Capital and the

  communication of particular trust and safety carried out by Defendant USASF

  facilitated the commission of these predicate acts by Defendant Champion Elite

  and Defendant Hughes, which allowed for Defendant Kristianson to commit

  sexual crimes against Plaintiffs without consequences.

        391.    The Defendants knew or should have known that inappropriate

  contact was occurring between credentialed coaches and minor athletes based on

  seeing reports and evidence of inappropriate contact and/or misconduct, as well

  as the existence of one-on-one coaching being marketed and the travel of these

  children across state lines with coaches, as well as rumors of misconduct, some of




                                         106
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 107 of 142 PageID 107




  which has even been captured on camera, engaging in illegal and inappropriate

  acts with the minors.

        392.   The Defendants owed a duty to the minor Plaintiffs, which they

  specially undertook based on known dangers, to disclose reports of inappropriate

  behavior and sexual relationships with children, to report crimes alleged against

  them, and to take steps to prevent alleged abusers from coming into contact with

  more minor children while under investigation.

        393.   The Defendants collectively allowed, endorsed, and financially

  supported the continuation of these acts against minor athletes.

        394.   The Defendants engaged in a scheme to defraud these athletes and

  their families out of money and property with their artifice and deceit regarding

  the safety of their programs.

        395.   In addition to those messages set forth herein and above, the

  fraudulent mail and/or wire messages include, for specificity, but are not limited

  to the following:

           a. Defendant Jeff Webb’s personal creation of governing bodies which

               fraudulently held themselves out as independent authorities for

               rulemaking, safety assurance, and abuse investigation in order to



                                         107
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 108 of 142 PageID 108




             market Varsity business, charge minor children for membership to

             receive those services, and then recklessly failing to assert any control

             over them when they failed to perform the functions with which he

             vested them.

          b. USASF 2009 Professional Responsibility Code and annual updates;

          c. USASF Athlete Protection Messaging at the website and via email on

             November 16, 2017;

          d. The 2020 Uniform Ineligible List, which Defendants falsely

             represented was a mechanism by which Defendants were properly

             patrolling and purging the sport of potentially dangerous adults;

          e. Social media posts and images either promoted by or shared by

             Defendants, where Defendants supported the proliferation of

             Defendants Champion Elite and Jones, and individual coaches;

          f. Marketing targeted toward minors and child athletes and specifically

             recruiting these athletes to travel over state lines to member gyms,

             and for camps, and competitions;

          g. The creation of “Cheerlebrity,” as a means to attract new minor

             athletes;



                                         108
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 109 of 142 PageID 109




          h. Annual coach credentialing for Defendant Kristianson;

          i. Annual credentialing for Champion Elite’s owner Ashley Hughes;

          j. Annual gym credentialing for Defendant Champion Elite;

          k. Fees accepted by USASF and/or the Varsity Defendants from

             Defendant Hughes;

          l. Fees accepted by USASF and/or the Varsity Defendants from or on

             behalf of Defendant Kristianson;

          m. Fees accepted by USASF and/or the Varsity Defendants from or on

             behalf of Defendant Champion Elite;

          n. Annual billing and/or invoices to Plaintiff for her USASF membership

             renewal;

          o. Billing and/or continuing to receive payment from Plaintiff for

             uniforms, and other requisites of competition;

          p. Billing, invoicing, and/or fees for music, choreography, travel, and

             hotels;

          q. Explicit imagery sent to Plaintiffs while they were minors depicting

             nude adults;




                                       109
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 110 of 142 PageID 110




          r. In 2021, USASF’s website falsely claimed that they were requiring

             background checks in 2015 of “all coaches and adult members.”

             However, this was untrue. Background checks were only required for

             entry into the “warm up room” at competitions. It was never

             implemented with respect to coaching children or being around them

             in any capacity outside their competition routine.

          s. For years, USASF repeatedly misrepresented that it was partnering

             with the U.S. Center for SafeSport (“SafeSport”) as part of its

             responsibility to athletes to prevent sexual abuse;

          t. Consecutively, on May 10, 2018 and May 16, 2019, the period just

             before Worlds at Disney, USASF disseminated the following

             messaging: “Athlete Safety is our #1 Priority! Our mission includes

             ‘strive for a safe environment for our athletes.’ To the USASF, safety

             extends   beyond     our    Cheer    or   Dance       safety   rules   for

             performance. We’re committed to helping our members create the

             safest overall environment for every all-star athlete, so we’ve made

             resources available for use in gyms and studios.”




                                        110
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 111 of 142 PageID 111




          u. Defendants’ concerted efforts to prevent all-star cheer from being

             designated a “sport,” which would have interrupted the Varsity

             Defendants’ profits through independent regulation;

          v. The Varsity Defendants’ representations related to USASF and

             adoption of SafeSport;

          w. USASF’s representations related to the benefits of competing at

             “sanctioned events,” which was a proxy for Varsity events;

          x. Continued messaging by USASF that child sexual abuse and

             exploitation by predators was an outside problem that could be

             prevented by paying more attention to how cheerleaders were

             presenting themselves on social media.

          y. In July of 2019, USASF shifted the blame to child athletes warning

             them the “risk and responsibility” of sexual exploitation and

             objectification required them to “make better choices” about their

             appearance to “minimize the risk[.]” It did this with full knowledge

             of repeated reports that the industry was rife with abuse among its

             own coaching and gym owner ranks and that they were actively




                                       111
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 112 of 142 PageID 112




               concealing these predators so that they could continue to feed the

               revenue stream.

           z. USASF’s athlete protection messaging continued at this time to

               primarily address athlete safety from sexual exploitation and abuse

               from the perspective of how athletes were presenting themselves

               through appearance and how that might affect the brand’s image

               through an “image and appearance policy.”

           aa. USASF and USA Cheer codes of conduct and other policy statements,

               which operated across all Varsity-affiliated gyms, which touted that

               athlete safety was a priority, when, in fact, neither entity had uniform

               methods by which to ensure athlete safety;

           bb.Materials associated with Varsity University, a gym and coaching

               conference;

           cc. Such additional statements, messages, and/or materials as may be

               revealed during discovery in this matter.

        396.   Each of the Plaintiffs had a property interest in their membership

  dues paid as set forth above and other fees and costs, and in the continued ability

  to cheer competitively.



                                          112
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 113 of 142 PageID 113




        397.   Defendants induced Plaintiffs, through promises of social media

  notoriety, “Cheerlebrity” status, scholarship opportunities, and, to one day

  become famous cheerleaders or coaches themselves one day and obtain the

  “legend status” their coaches boasted of, to become a gym owner, or to become an

  event promoter.

        398.   The actions of the Enterprise and its conspirators were the direct and

  proximate cause of these injuries to the Plaintiffs.

        399.   But for the Enterprise’s fraudulent assurances to Plaintiffs and their

  parents that the gyms, coaches, and events were certified safe, the abuse would

  not have occurred causing the injuries described above.

        400.   But for the Enterprise’s failure to investigate, report, or act upon

  reports of sexual abuse, Defendant Kristianson would not have been so

  emboldened to continue abusing minors, and taunting his victims that nothing

  would happen to him.

        401.   Plaintiffs are entitled to damages pursuant to the laws of the United

  States of America, including but not limited to the following:

           a. Compensatory, actual, and consequential damages, trebled in

               accordance with the statute;



                                           113
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 114 of 142 PageID 114




           b. Reasonable attorneys’ fees and costs;

           c. Punitive damages; and

           d. Any and all other and further relief as this Court may deem

               appropriate including pre- and post-judgment interest.


                                       COUNT III
                                   GROSS NEGLIGENCE
                                   (ALL DEFENDANTS)
        402.   Plaintiffs hereby reallege the factual recitations in the paragraphs 1-

  366 as though repeated verbatim herein.

        403.   Plaintiffs bring this claim for gross negligence against all Defendants.

        404.   Defendants have been responsible for the safety, health, and welfare

  of minor athletes, such as Plaintiffs, who were members of Defendants USASF and

  USA Cheer, participants in Defendant Varsity events, competing for Varsity-

  affiliated gyms, and under the care, custody, and control of each of the Defendants,

  respectively.

        405.   As alleged above, Defendant Webb, on behalf of the Varsity

  Defendants, specially undertook this duty when he created Defendants USASF

  and USA Cheer with the primary purpose of retaining control over the industry

  he created so that competitors could not make rules that would affect his revenues.



                                          114
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 115 of 142 PageID 115




        406.   Moreover, and as alleged herein, the PE Defendants expressly

  represented that they undertook affirmative steps to enhance the safety features

  of the Varsity network, by, for example, institution of the Unified Ineligibility List,

  and further emphasis on credentialing and coaching certification.

        407.   Defendant USASF, the Varsity Defendants, the PE Defendants, and

  Defendant Champion Elite have represented that credentialing generally, and

  specifically related to coaches, provided superior safety for athletes like Plaintiffs.

        408.   Defendants have been aware that there are dangers associated with

  the operation of their Varsity network where adult coaches train minor athletes,

  including risks associated with inappropriate social contact, touching and other

  sexual contact, and emotional abuse.

        409.   Defendants represented that they had rules, policies and/or

  procedures specifically intended to address the risks of sexual, physical, and

  mental exploitation of minor athletes by coaches, and adults who interact with

  these athletes by virtue of the adults’ position of power. These policies,

  procedures, rules, and/or guidelines included fraudulent representations related

  to SafeSport, and that Defendants USASF and USA Cheer were uniquely situated

  to help govern and regulate All-star cheer.



                                           115
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 116 of 142 PageID 116




        410.   Defendants have represented that participating in the Varsity

  network governed by Defendant USASF and USA Cheer is the means to maximize

  athlete protection for minor athletes.

        411.   Defendants owed special duties to protect Plaintiffs while they paid

  dues and competed on behalf of a credentialed member club and under a certified

  coach. Plaintiffs entrusted Defendants with their physical, mental, and emotional

  care and well-being, and Defendants held themselves out as being uniquely able

  to protect Plaintiffs from harm caused by physical or other abuse.

        412.   Defendants knew or should have known that violations to their

  internal policies, processes, procedures, and guidelines related to athlete safety,

  and, in particular, safety against harm from sexual, physical, and emotional abuse

  and exploitation were occurring on a regular and continuous basis by and through

  certified coaches at private all-star gyms, including Defendant Champion Elite.

        413.   Defendants violated their responsibilities and duties to Plaintiffs in

  one or more of the following particulars:

           a. Allowing Defendant Kristianson access to Plaintiffs when Defendants

               knew or reasonably should have known that he posed a threat of

               harm to children;



                                           116
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 117 of 142 PageID 117




          b. Permitting Defendant Kristianson to remain in a position of power

             and particular trust over Plaintiffs;

          c. Allowing Defendant Kristianson to isolate Plaintiffs despite the

             known     dangers    associated     with   one-on-one     coaching   and

             interactions;

          d. Failing to enforce social media and other communications policies

             and procedures related to inappropriate conduct between Plaintiffs

             and Defendant Kristianson;

          e. Failing to report known instances of abuse or misconduct;

          f. Failing to adhere to SafeSport policy or procedure while fraudulently

             misrepresenting that they did;

          g. Failing to investigate potential misconduct, including among and

             between Defendant Kristianson and Plaintiffs despite knowledge that

             such inappropriate contact had occurred;

          h. Failing to train, supervise, monitor, or implement policies and

             procedures related to Defendants’ employees and/or authorized

             representatives and their interactions with Plaintiffs;

          i. Failing to provide safe premises;



                                         117
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 118 of 142 PageID 118




           j. Failing to protect Plaintiffs from the foreseeable harm inflicted on

               them by third parties contemplated in their rules and certification

               process;

           k. Continuing to hold Defendant Kristianson out as a credentialed, and

               thus trustworthy, adult in the Enterprise; and

           l. Such other conduct as may be revealed.

        414.   Defendants have known that one-on-one coaching, and intimate

  coach contact is an enhanced feature of private gym cheer coaching that generates

  a great deal of money for all Defendants in the enterprise.

        415.   Defendants are also aware of the close personal relationships many of

  these coaches form with minor athletes who the coaches gain access to by virtue

  of their USASF and USA Cheer credentials.

        416.   Defendants are further aware that, despite the known dangers of one-

  on-one contact, coaches routinely engage in intimate and exclusive contact with

  minor athletes, as well as travel with minors across state lines, even staying in the

  same hotel rooms with no other chaperone, during these moneymaking cheer

  competition events which enrich the Enterprise.




                                          118
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 119 of 142 PageID 119




        417.    When complaints or reports have surfaced, or social media images

  and videos circulate depicting illegal activity with minors, the Defendants

  disregard or ignore same, do not report to any agencies, do not permanently strip

  coaches of their eligibility, and often rally around coaches who have been accused

  of illegal conduct with minors, even ostracizing families who have complained or

  reported.

        418.    Defendants’ actions and omissions, by and through their authorized

  agents, were unreasonable, constituted the total absence of care, and breached

  duties owed to Plaintiff, and actually and proximately contributed to and/or

  caused damages.

        419.    Defendants’ actions and omissions as described above, by and

  through authorized agents, were in violation of Defendants’ own policies,

  procedures, and what would be reasonable under the circumstances.

        420.    Each incident of abuse and exploitation detailed in this matter

  constitutes a separate occurrence.

        421.    Plaintiffs are entitled to damages pursuant to the laws of Florida,

  including but not limiting to the following:

              a. Compensatory, actual, and consequential damages;



                                          119
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 120 of 142 PageID 120




            b. Punitive damages; and

            c. Any and all other and further relief as this Court may deem

                appropriate including pre and post judgment interest.


                           COUNT IV
                    NEGLIGENT SUPERVISION
     (VARSITY DEFENDANTS, DEFENDANT USASF, DEFENDANT USA
   CHEER, DEFENDANT CHAMPION ELITE, AND DEFENDANT HUGHES)
         422.   Plaintiff hereby realleges the factual recitations contained in the

  paragraphs 1-366 as though repeated verbatim herein.

         423.   Defendant USASF, the Varsity Defendants, and Defendants

  Champion Elite and Hughes continued to employ, credential, and place Defendant

  Kristianson in a particular and unique position of trust by allowing him access to

  Plaintiffs.

         424.   Despite claiming to conduct background checks and having the

  authority to revoke eligibility certification from coaches or gyms where complaints

  or reports of misconduct have been made, Defendants continued to let Defendant

  Kristianson operate and manage Defendant Champion Elite and to provide

  coaching services in order to generate income for the Enterprise.

         425.   Furthermore, when Defendants became aware of allegations against

  Defendant Kristianson, either of sexual misconduct, or that he had engaged in


                                          120
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 121 of 142 PageID 121




  inappropriate behavior in the gym, Defendants failed to report these activities to

  law enforcement agencies, or to take any other corrective action, instead

  preserving the reputation of the Defendants so that trust in its safety continued to

  generate income for all members of the Enterprise.

        426.   The Varsity Defendants’ business model, designed and implemented

  personally by Defendant Webb, relies upon certifying private gyms and coaches

  pursuant to the USASF standard, which purports to place athlete health and safety

  above all else.

        427.   Moreover, Defendant Champion Elite’s business model relies upon

  access to credentialed coaches, and coaches who are extremely popular in the

  sport, to attract and perpetuate new athletes.

        428.    In outwardly creating the appearance of a brand built on trust and

  athlete safety, and as part of the business model to charge for those assurances,

  Defendants specifically undertook a duty to ensure that reputation for trust and

  safety was earned and that dangerous individuals committing atrocious illegal

  acts were removed from the competitive cheer network Defendants oversaw.

        429.   Defendants breached this duty in a number of particulars including

  by credentialing Defendant Kristianson, and allowing him to remain in a gym



                                          121
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 122 of 142 PageID 122




  setting with regular access to minor athletes, when Defendants knew or should

  have known he posed a significant threat of harm, failing to act or otherwise

  disregarding reports of abuse, discounting or otherwise ignoring specific

  information about Defendant Kristianson and his inappropriate interaction with

  Plaintiffs as described above in the Complaint.

         430.   Defendants’ grossly negligent, willful and wanton conduct, set forth

  more fully herein, directly and proximately caused injuries to Plaintiffs.

         431.   As a direct and proximate result of Defendants’ conduct, Plaintiffs

  have sustained physical, mental, and financial damages.

         432.   Plaintiffs are therefore entitled to a judgment against Defendants, and

  for such actual and consequential damages in an amount to be determined by a

  jury trial.


                            COUNT V
                        ASSAULT/BATTERY
        (DEFENDANT CHAMPION ELITE, DEFENDANT HUGHES, AND
                    DEFENDANT KRISTIANSON)
         433.   Plaintiffs hereby reallege the factual recitations contained in the

  paragraphs 1-366 as though repeated verbatim herein.

         434.   Defendant Hughes, as owner and operator of Defendant Champion

  Elite, allowed an adult coach to access the minor Plaintiffs to illegally commit


                                           122
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 123 of 142 PageID 123




  illegal dissemination of obscene materials to minors and the nonconsensual sexual

  touching of the Plaintiffs.

        435.   Said touching by Defendant Kristianson constituted sexual assault

  and sexual battery on the Plaintiffs.

        436.   As a direct and proximate result of these Defendants’ conduct, set

  forth more expressly above, Plaintiffs experienced bodily injury, physical pain and

  suffering, and mental anguish; and are thus entitled to awards of actual damages

  in an amount to be determined through a trial of this matter.


                              COUNT VI
                        BREACH OF CONTRACT
          (AS TO THE VARSITY DEFENDANTS, DEFENDANT USASF, AND
                     DEFENDANT CHAMPION ELITE)

        437.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim herein.

        438.   At all times relevant to this complaint, Plaintiffs had duly executed

  contracts with Defendant Champion Elite, the Varsity Defendants and Defendant

  USASF where, in exchange for valuable consideration from Plaintiffs, Defendants

  agreed to provide a competitive and gym environment that was safe, secure, and

  free from harm, specifically physical and sexual abuse.




                                          123
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 124 of 142 PageID 124




        439.   During the course of these contractual agreements, Plaintiffs were

  subjected to severe and oppressive abuse, physically and mentally, including

  during competitions hosted by the Varsity Defendants under the governance of

  Defendant USASF, and which Plaintiffs were required to attend by Defendant

  Champion Elite and the Varsity Defendants.

        440.   During the term of these agreements, Defendant Champion Elite, the

  Varsity Defendants and Defendant USASF failed to provide Plaintiffs with the safe

  and secure environment they paid for, including by failing to enforce the policies,

  procedures, and standards expressly adopted by Defendant USASF related to

  credentialed coaches.

        441.   These failures on the parts of Defendant Champion Elite, the Varsity

  Defendants and Defendant USASF constituted violations of the fundamental and

  material terms of the agreements between them and Plaintiffs.

        442.   As such, Plaintiffs seek an order from this court finding that

  Defendants’ conduct constitutes a breach of the contractual arrangement between

  Defendants and Plaintiffs, rescinding said contracts, and remitting the valuable

  consideration Plaintiff paid to Defendants during the relevant timeframe, as well




                                         124
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 125 of 142 PageID 125




  as for all such attorney’s fees, costs, and pre-judgment interest to which Plaintiffs

  may be entitled.


                          COUNT VII
                      UNJUST ENRICHMENT
   (AS TO DEFENDANT CHAMPION ELITE, THE VARSITY DEFENDANTS,
     DEFENDANT BAIN CAPITAL, AND DEFENDANT CHARLESBANK)
        443.   Plaintiffs reallege the factual recitations in the paragraphs 1-366 as

  though repeated verbatim herein.

        444.   As set forth herein, the cheer industry represents a multi-billion-

  dollar enterprise where each young athlete annually spends thousands of dollars

  toward gym memberships and private lessons, uniforms, accessories, competition

  fees to the Varsity Defendants, and membership with USASF.

        445.   At all times relevant to this complaint, Plaintiffs conferred non-

  gratuitous benefits upon Defendants including annual competition and

  membership fees, as well as continuous revenue toward uniforms, accessories,

  private training, and other monetary benefits.

        446.   Defendants realized the value of these benefits, including steady

  annual revenue per athlete which precipitated massive capital investments from

  the PE Defendants.




                                          125
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 126 of 142 PageID 126




        447.   To date, none of the benefits Defendants realized have been returned

  or otherwise disgorged.

        448.   Under the circumstances set forth herein and above, it would be

  inequitable for Defendants to retain the benefits conferred by Plaintiffs including

  through their annual USASF membership fees and Varsity competition fees and

  apparel and travel costs.

        449.   Plaintiffs are therefore entitled as a matter of equity to recover these

  benefits from Defendants and for all such additional relief as this Court deems

  proper.


                         COUNT VIII
                           FRAUD
   (AS TO DEFENDANT CHAMPION ELITE, THE VARSITY DEFENDANTS,
                    AND DEFENDANT USASF)
        450.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim.

        451.   At all times relevant to this complaint, Plaintiffs were parties to

  numerous annual contracts whereby they agreed to pay Defendants annual and

  recurring fees in exchange for a safe competitive environment and training facility,

  and further agreed to pay substantial additional consideration and fees to




                                          126
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 127 of 142 PageID 127




  Defendants for a service Defendants did not provide while fraudulently

  misrepresenting that they did.

        452.      As part of these agreements, and as alleged herein and above

  including in paragraphs contained at Footnote 33, Defendants represented to

  Plaintiffs that Defendants would be responsible for ensuring a safe environment

  and access to safe adults for Plaintiffs including an environment free from, and

  coaches who would not engage in, sexual, physical, and mental harm and

  exploitation.

        453.      Defendants’ promises were material to Plaintiffs’ agreements,

  without which no agreements would have existed.

        454.      Plaintiffs had a right to rely upon Defendants’ representations, and

  did so rely.

        455.      In addition, Defendants intended for Plaintiffs to rely on Defendant’’

  myriad representations and specific promises about the safety of the Varsity

  network through certification and credentialing.

        456.      As set forth herein, even at the time they entered into the agreements

  with Plaintiffs, Defendants knew or had a reckless disregard for or willful

  blindness toward whether the environment they provided at competitions, in the



                                             127
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 128 of 142 PageID 128




  gym environment, and through certified coaches, was safe and free from harm and

  sexual, physical and mental abuse.

         457.   In fact, Defendants knew that the environment they provided actually

  facilitated access by predators, including coaches, to underage athletes by

  predators, including coaches, choreographers, and other adults.

         458.   Yet, with knowledge or a reckless disregard or willful blindness for

  whether Defendants were providing safe environments for child athletes,

  Defendants nevertheless entered into the agreements and collected fees from

  Plaintiffs.

         459.   Defendants’ misrepresentations included, without limitation:

            a. Certifying to Plaintiffs that Defendants were responsible for

                providing safe competitive and training environments;

            b. Certifying to Plaintiffs and their families that the adults involved in

                the gyms, and competitions, including coaches, had been duly vetted;

            c. Allowing coaches to continue participating and accessing child-

                athletes even after Defendants knew the coaches had exhibited

                disturbing behavior;

            d. Facilitating an unchaperoned environment for child-athletes;



                                          128
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 129 of 142 PageID 129




           e. Encouraging coaches to create a steady stream of new child athletes

               for the time that the current athletes aged out;

           f. Failing to provide appropriate security to ensure a safe environment

               for child athletes free from harm;

           g. Failing to enforce, implement, or abide by policies and procedures

               related to vetting, security, and screening;

           h. Such additional conduct as may be revealed during discovery and the

               trial of this case.

        460.   As a direct and proximate result of Defendants’ conduct, Plaintiffs

  have sustained and will continue to sustain significant mental, physical, and

  emotional injuries and damages.

        461.   Plaintiffs now seek an order from this court for damages in an amount

  to compensate them for the physical, psychological and emotional harm caused

  by Defendants’ conduct, as well as punitive damages, and such additional

  damages in law or equity as this court deems proper.


                            COUNT IX
                       NEGLIGENT SECURITY
   (AS TO THE VARSITY DEFENDANTS, DEFENDANT CHAMPION ELITE,
       DEFENDANT BAIN CAPITAL & DEFENDANT CHARLESBANK)




                                          129
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 130 of 142 PageID 130




        462.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim.

        463.   The Varsity Defendants, the PE Defendants, and Defendant

  Champion Elite sponsored, created, hosted, and oversaw private All-star gyms,

  camps, coaches, and competitions where young adult athletes would converge at

  pre-determined locations, all established and governed by Defendants, and under

  the supervision of Defendants.

        464.   When athletes competed at the private All-star gyms, camps and

  competitions hosted by Defendant Champion Elite, the Varsity Defendants, and

  the PE Defendants, the athletes had no meaningful choice but to attend at the

  locations, and under conditions, established by Defendants.

        465.   The Varsity Defendants, Defendant Champion Elite, and the PE

  Defendants received substantial revenue from these events.

        466.   As part of their promotion of these events, the Varsity Defendants,

  Defendant Champion Elite, and the PE Defendants undertook a responsibility to

  ensure that the locations and events were safe for attendees, minor athletes who

  were likely to encounter adult coaches, choreographers, videographers, and

  attendees.



                                          130
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 131 of 142 PageID 131




        467.   The Varsity Defendants, Defendant Champion Elite, and the PE

  Defendants violated their responsibility to provide safe premises free from harm

  from third parties in one or more of the following particulars:

           a. Disparate enforcement of policies, procedures, and guidelines related

               to coaching suspension, with the result that coaches were still allowed

               to attend Varsity Competitions and represent Varsity-affiliated

               private all-star gyms;

           b. Failure to provide adequate monitoring;

           c. Failure to provide sufficient background checks, with the result that

               hundreds of potential predators were allowed to gain access to

               underage athletes;

           d. Failing to monitor, enforce, or otherwise implement policies and

               procedures to ensure that minor athletes were not exposed to drugs

               and alcohol at all-star Gyms, and while attending Varsity events;

           e. Failing to monitor, enforce, or otherwise implement policies and

               procedures to ensure that minor athletes were not exposed to

               pornographic images, or were not solicited to provide pornographic




                                          131
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 132 of 142 PageID 132




               images while competing on behalf of Varsity-affiliated gyms, and

               attending Varsity events;

           f. Failing to ensure that Varsity member coaches were not forcing

               themselves upon minor athletes, including at Varsity member gyms

               and Varsity events;

           g. Failing to ensure that underage athletes were not being forced into

               non-consensual sexual encounters with adults affiliated with

               Defendants;

           h. Such additional conduct as may be revealed during discovery.

        468.   As a direct and proximate result of Defendants’ conduct, Plaintiffs

  have sustained and will continue to sustain significant mental, physical, and

  emotional injuries and damages.

        469.   Plaintiffs now seeks an order from this court for damages in an

  amount to compensate Plaintiff for the physical, psychological and emotional

  harm caused by Defendants’ conduct, as well as punitive damages, and such

  additional damages in law or equity as this court deems proper.


                                     COUNT X
                                CIVIL CONSPIRACY
                             (AS TO ALL DEFENDANTS)


                                           132
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 133 of 142 PageID 133




        470.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim.

        471.   Defendants were a collective group of individuals working in concert

  and individually toward a common plan.

        472.   Defendants, acting as a collective group and individually, were

  engaged in the reckless, intentional, or willful endangerment of the minor

  Plaintiffs, by exposing them to sexual abuse and exploitation while assuring them

  and their families that Defendants were providing safe conditions and premises

  for the athletes to compete.

        473.   Defendants’ conduct included misleading and fraudulent messaging

  to children and their families which Defendants knew or should have known

  would endanger children who were not in a position to discover the danger since

  Defendants were concealing the danger and failing to report it, and acting in

  reckless indifference to the safety of the children in the name of growing profits.

        474.   Defendants were motivated by the substantial revenue, profits, and

  funding paid by the athletes and their families in exchange for the fraudulent

  messages and misrepresentations made by Defendants.




                                          133
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 134 of 142 PageID 134




        475.   Defendant Webb personally, on behalf of the Varsity Defendants,

  created the safety regulatory bodies with the primary purpose of retaining control

  free from outside regulation or competitor interference but recklessly and willfully

  failed to ensure Defendants USASF and USA Cheer were performing the roles he

  marketed to Varsity participants and which USASF and USA Cheer charged for.

        476.   In 2014, Defendant Charlesbank further funded this scheme,

  providing    additional    capital   for      Defendants   to   perpetuate     their

  misrepresentations.

        477.   In 2018, Defendant Bain Capital took over the primary role in

  continuing to fund the purpose this scheme, with Defendant Charlesbank

  retaining an interest as they continued their dangerous misrepresentations and

  accepted the resultant monetary benefits.

        478.   Defendants acted in concert to perpetuate this scheme, and it would

  not have been possible for them to carry it out without unique elements of

  participation by each of them.

        479.   Defendants knew or should have known that the funding, materials,

  and premises provided by Defendants were material to the abuses and harm




                                          134
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 135 of 142 PageID 135




  suffered by the minor athletes, as well as the continued perpetuation of revenue

  from these athletes.

        480.   The Defendants knew or should have known that inappropriate

  contact was occurring between coaches, choreographers, videographers, and other

  adults and minor athletes based on the one-on-one coaching being marketed and

  the travel of children across state lines with their coaches, some of whom stayed

  in hotel rooms with them and had been rumored, and even captured on camera,

  engaging in illegal and inappropriate acts with the minors.

        481.   The Defendants owed a duty to Plaintiffs to make reports or disclose

  reports of inappropriate behavior and sexual relationships with children and to

  report crimes alleged against them.

        482.   The Defendants collectively allowed, endorsed, and financially

  supported the continuation of these acts against minor athletes.

        483.   The Defendants engaged in a scheme to defraud these athletes and

  their families out of money and property with their artifice and deceit regarding

  the safety of their programs.

        484.   But for the fraudulent assurances to Plaintiffs that the gyms and

  coaches were certified safe, the abuse would not have occurred, and Plaintiffs



                                         135
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 136 of 142 PageID 136




  would not have suffered continued economic harm derived from paying

  substantial dues and fees predicated in large part on promises of a safe

  environment for minor athletes.

        485.   As a direct and proximate result of Defendants’ conduct, Plaintiffs are

  entitled to damages including but not limited to the following:

           a. Compensatory, actual, and consequential damages, trebled in

               accordance with the statute;

           b. Punitive damages; and

           c. Any and all other and further relief as this Court may deem

               appropriate including pre- and post-judgment interest.


                              COUNT XI
               RESPONDEAT SUPERIOR/VICARIOUS LIABILITY
                  (AS TO DEFENDANT CHAMPION ELITE)
        486.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim.

        487.   Defendant Champion Elite employed and retained Defendant

  Hughes, as well as Defendant Kristianson as a coach, and authorized Defendant

  Kristianson’s access to minor athletes including Plaintiffs.

        488.   Defendants Hughes and Kristianson were acting in the course and

  scope of their employment and/or agency, in the furtherance of the business of
                                          136
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 137 of 142 PageID 137




  Defendant Champion Elite, and as authorized representatives of Defendant

  Champion Elite.

        489.   As such, Defendant Champion Elite was as responsible for the

  actions, inactions, omissions and failures of Defendants Hughes and Kristianson

  as though they undertook the actions of the Defendant coaches themselves.

        490.   Defendant Hughes failed to properly train, supervise, provide

  monitoring, and/or to implement the policies, procedures, and guidelines of

  Defendant Champion Elite, greatly increasing the likelihood of bodily injury and

  harm to Plaintiffs.

        491.   Defendant Kristianson committed grotesque criminal acts against

  Plaintiffs including physical, mental, and emotional abuse, sexual exploitation,

  assault, and other battery.

        492.   This conduct directly and proximately caused Plaintiffs to sustain

  continuing and ongoing injuries, including physical and emotional damages.

        493.   Plaintiffs therefore actual, consequential, and such additional

  damages, including punitive damages as this court deems just and proper against

  Defendant Champion Elite for the acts of Defendant Kristianson.




                                        137
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 138 of 142 PageID 138




                            COUNT XII
              RESPONDEAT SUPERIOR/VICARIOUS LIABILITY
         (AS TO DEFENDANTS USASF, USA CHEER & THE VARSITY
                           DEFENDANTS)

        494.   Plaintiffs reallege the factual recitations contained in the paragraphs

  1-366 as though repeated verbatim.

        495.   At all times relevant to this complaint, Defendant USASF and

  Defendant USA Cheer, in conjunction with and under the control of the Varsity

  Defendants, granted memberships and credentials to adults seeking to work as

  certified coaches within Varsity network gyms.

        496.   At all times relevant to this complaint, Defendant Champion Elite was

  a Varsity gym, and therefore any adult working within the gym was required to

  be an authorized representative and strictly certified by Defendants USASF and

  USA Cheer.

        497.   As expressly set forth herein, membership within Defendant USA

  Cheer and Defendant USASF and credentials from these organizations signaled to

  child athletes cheering for gyms within the authorized Varsity network that the

  adult coach had been expressly vetted by Defendants USASF, USA Cheer, and the

  Varsity Defendants and that the coach was an authorized representative on behalf

  of Defendants USASF, USA Cheer, and the Varsity Defendants.


                                          138
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 139 of 142 PageID 139




        498.   At all times relevant to this Complaint, Defendants USASF, USA

  Cheer, and the Varsity Defendants certified and represented Defendants Hughes

  and Kristianson were expressly authorized to work with children within the

  Varsity network, and the promotion of the same through the Varsity Defendants’

  social media and marketing content, created an apparent and/or implied agency.

        499.   Defendants Hughes and Kristianson were acting in the course and

  scope of their employment and/or agency, in the furtherance of the business of

  Defendants USASF, USA Cheer, and the Varsity Defendants, and as authorized

  representatives of Defendants USASF, USA Cheer, and the Varsity Defendants.

        500.   As such, at all times relevant to this Complaint, the Varsity

  Defendants, and Defendants USASF and USA Cheer held out Defendants

  Kristianson and Hughes as authorized representatives, and intended for Plaintiffs

  to rely upon these representations.

        501.   Plaintiffs did in fact so rely, coming to Defendants USASF, USA

  Cheer, and the Varsity Defendants network gym because of Defendants Hughes

  and Kristianson’s association with the Varsity network.

        502.   As such, Defendants USASF, USA Cheer, and the Varsity Defendants

  were responsible for the actions, inactions, omissions and failures of Defendants



                                        139
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 140 of 142 PageID 140




  Hughes and Kristianson as though they undertook the actions of the Defendant

  coaches themselves.

        503.   Defendant Hughes failed to properly train, supervise, provide

  monitoring, and/or to implement the policies, procedures, and guidelines of

  Defendants USASF, USA Cheer, and the Varsity Defendants, greatly increasing

  the likelihood of bodily injury and harm to Plaintiffs.

        504.   Defendant Kristianson committed grotesque criminal acts against

  Plaintiffs including physical, mental, and emotional abuse, sexual exploitation,

  assault, and other battery.

        505.   This conduct directly and proximately caused Plaintiffs to sustain

  continuing and ongoing injuries, including physical and emotional damages.

        506.   Plaintiffs therefore actual, consequential, and such additional

  damages, including punitive damages as this court deems just and proper against

  Defendants USASF, USA Cheer, and the Varsity Defendants for the acts of

  Defendant Kristianson.




                                          140
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 141 of 142 PageID 141




                                 PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request this Court award the

  following damages, jointly and severally against Defendants, as provided by the

  laws of the United States and Florida, including but not limited to the following:

             a.   Compensatory, actual, and consequential damages to Plaintiff,

                  trebled where permitted by statute;

             b.   Alternatively, liquidated damages as to Count I;

             c.   Costs of this action and attorneys’ fees to Plaintiffs;

             d.   Punitive damages where permitted; and,

             e.   Any and all other and further relief as this Court may deem

                  appropriate.


                                   TRIAL BY JURY

         WHEREFORE, Plaintiffs hereby demand a trial by jury on all issues so

  triable.

  Dated: April 28, 2023

                            OSBORNE & FRANCIS

                            s/ J. Robert Bell III
                            J. Robert Bell III (FL Bar 115918)
                            Gregorio Francis (FL Bar No: 008478)
                            Joseph A. Osborne (FL Bar No: 880043)

                                           141
Case 6:23-cv-00788-WWB-LHP Document 1 Filed 04/28/23 Page 142 of 142 PageID 142




                         925 S Federal Highway, Suite 175
                         Boca Raton, FL 33432
                         Phone: (561) 293-2600
                         Email:      rbell@realtoughlawyers.com
                                     gfrancis@realtoughlawyers.com
                                     josborne@realotughlawyers.com

                         Attorneys for Plaintiff
                         STROM LAW FIRM, LLC
                         s/ Bakari T. Sellers
                         Bakari T. Sellers (SC Fed. ID No. 11099)*
                         Jessica L. Fickling (SC Fed. ID No. 11403)*
                         Alexandra Benevento (SC Fed. ID No. 10734)*

                         6923 N. Trenholm Road, Suite 200
                         Columbia, South Carolina 29206
                         Phone: (803) 252-4800
                         Email:      bsellers@stromlaw.com
                                     jfickling@stromlaw.com
                                     abenevento@stromlaw.com

                         Attorneys for Plaintiff

                         * PHV Petitions Forthcoming




                                        142
